Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 1 of 101

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
DIVISI

99 -0.08'7 OCR-IONG

18U.SC. § 162MAGISTRATE JUDGE
O’SULLIVAN .
UNITED STATES OF AMERICA 5

 

VS

BASSAM GHARIB MAKKI, . W
a/k/a Hassan Mohamad Makki. -f

2D

INDICTMENT
The Grand Jury charges that:
COUNT I
On or about September 21, 1998, at Miami-Dade County, in the Southern District of Florida,

the defendant,

BASSAM GHARIB MAKKI,
a/k/a Hassan Mohamad Makki,

did knowingly make a false material declaration while under oath in a proceeding before and ancillary
to a court of the United States, in that the defendant stated while under oath during an Initial
Appearance hearing in a United States district court that his name was Hassan Mohamad Makki,

when in truth and in fact, and as the defendant then and there well knew, his true name was and is

yo
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 2 of 101

Bassam Gharib Makki; in violation of Title 18, United States Code, Section 1623.

A TRUE BILL

FOREPERSON

“Go KL &
THOMASE. SCOTT
STATES) ATTORNEY

 

ASSISTANT UNITED STATES ATTORNEY
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 3 of 101

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF avQ ™ 0887 Q.CR-IGNG

CERTIFICATE OF TRIAL ATTORNEY*

V.
BASSAM GHARIB MAKKI MAGIST
Superseding Case Information: (,; SUN Ie aN DGE

 

 

Court Division: (select one) New Defendant(s) Yes ___ —s-§s&s No
Number of New Defendants —_—

_X_ Miami — — Key West Total number of counts a

— FTL —~ WPB_ ~ FTP

| do hereby certify that:

1. | have carefully considered the allegations of the indictment, the number of defendants,
the number of probable witnesses and the legal complexities of the Indictment/Information
attached hereto.

2. | am aware that the information supplied on this statement will be relied upon by the
Judges of this Court in setting their calendars and scheduling criminal trials, under the
mandate of the Speedy Trial Act, Title 28 U.S.C. Section 3161. Oe

3. Interpreter: (Yes or No) _Yes

 

List language and/or dialect Arabic -

4. This case willtake 2. days for the parties to try.

5. Please check appropriate category and type of offense listed below:

(Check only one) (Check only one) — “
| 0 to 5days _X Petty _F
II 6 to 10 days —_—_ Minor —__
Atl 11 to 20 days —_———. Misdem. ——
IV 21 to 60 days —_—— Felony —xX_

V 61 days and over

 

6. Has this case been previously filed in this District Court? (Yes or No) —No—
if yes:

Judge: Case No.
(Attach copy of dispositive order)

Paes a complaint been filed in this matter? (Yes or No) _Yes.
yes:

Magistrate Case No. _99-3664-STR_

Related Miscellaneous numbers:
Defendant(s) in federal custody as of
Defendantts , in state custody as of
Rule 20 from the __-S SE C~*C=é*O@DSttricct OF

 

 

 

 

 

 

Is this a potential death penalty case? (Yes or No) No
7. Does this case originate from a matter pending in the,U. S. Attorney's Office prior to
April1, 1999? YX Yes __No_ If yes, vest oy entral Region? __- Yes % No

DAVID M. BUCKNER
ASSISTANT UNITED STATES ATTORNEY
Florida Bar No. 60550

 

*Penalt y Sheet(s) attached REV.3/19/99
N:\udd\jnotheis\david\cert. ) ai
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 4 of 101
UNITED STATES DISTRICT COURT

9 9 -O087 0.8 OF “KING

AY)
“sd MAGISTRATE JUDGE

O’SULLIVAN
Defendant Name: BASSAM GHARIB MAKKI __ Case No.

 

 

Count #: 1
18 USC 1623
Perjury

*Max. Penalty: 5 years’ imprisonment

 

 

*Max. Penalty: 5 years’ imprisonment

 

 

 

Count #:

 

 

*Max. Penalty:

 

 

 

*Max. Penalty:

 

Count #:

 

 

*Max. Penalty:

 

*Refers only to possible term of incarceration, does not include possible fines, restitution, special assessments,
parole terms, or forfeitures that may be applicable.
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 5 of 101

QS 1aNKrW-2bb “CC hing purr)

 

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MAGISTRATE JUDGE
UNITED STATES #1s21¢t COURT.
__SOUTPERN District of __FLOPIPA
~oo CRIMINAL ____ Division

 

THE UNITED STATES OF AMERICA

DS.

+ BASSAM GHARIRB MAFKT

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INDICTMENT

18 USC 1623

 
; roo
Case 1:99-cr-00870-JLK Document5 Entered on FLSD Docket 12/01/1999 Page 6 of 101. )
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NOV 221°
UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF PENNSYLVANIA PER =e

UNITED STATES OF AMERICA : DOCKET NO. 99-MW-077-01
V. : (MAGISTRATE JUDGE ASKEY)

BASSAM GHARIB MAKKI

OR DER
The Court, having conducted a hearing in accordance with o

Federal Rule of Criminal Procedure 40(a), makes the following:

findings: o

e That Bassam Gharib Makki present today, is the same
defendant named in the Criminal Complaint filed under
Docket No. 99-3664-STB in the Southern District of
Florida; |

e That there is probable cause to believe that the
defendant has committed the offenses (perjury and false
statements) charged in the Criminal Complaint; and

° That there are no conditions or combination of

conditions that will reasonably assure the appearance
of the defendant at future proceedings or the safety of
the community.

The Court HEREBY ORDERS the defendant held in the custody of

United States Marshal and removed co the district of

Vow (899 btn

William H. Askey
U. S. Magistrate Gus seeord |

Ce Lee Ls oe
ey

 
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 7 of 101

OFFICE OF THE CLERK

UNITED STATES DISTRICT COURT
Jor the
MIDDLE DISTRICT of PENNSYLVANIA

U. S. Courthouse

 

240 West Third Street
P.O. Box 608
Williamsport, PA 17703-0608
MARY E. D'ANDREA (717) 323-6380
Clerk of Court FAX (717) 323-0636

November 23, 1999

Office of the Clerk

United States District Court

for the Southern District of Florida
301 North Miami Avenue

Miami, FL 33128-7788

ATTN: CRIMINAL DEPARTMENT

RE: BASSAM GHARIB MAKKI
MDPA NUMBER. 99-MW-077-01
SDFL NUMBER: 99-3664-STB .

op

Dear Sir or Madam:

Enclosed please find a certified copy of docket sheet along with copies of docket entries
regarding the Removal Hearing to the Southern District of Florida.

Kindly return the enclosed copy of the cover letter marked “‘Received”’ and return to the
Middle District of Pennsylvania for our records.

Thank you.

 
  

V ye A
Be Ghles

Rebecca A. Kuhns
Deputy Clerk

Enclosures
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 8 of 101

U.S. District Court
Middle District of Pennsylvania (Williamsport)

CRIMINAL DOCKET FOR CASE #: 99-MW-77-ALL

USA v. Makki
Dkt# in other court: None

Case Assigned to:
BASSAM GHARIB MAKKI (1)
aka

Hassan Mohamad Makki
defendant

Pending Counts:

NONE

Terminated Counts:

NONE

Complaints

COMPLAINT:
from SDFL

Warrant for Arrest

U. S. Attorneys:

NONE

Docket as of November 23, 1999 9:21 am

Mag. Judge William H. Askey

Bassam Gharib Makki
CTY-LYCOMING

277 W. Third Street
Williamsport, PA 17701
717-326-4623

D. Toni Byrd

[COR LD NTC pda]

FPD

One Executive Plaza
330 Pine St.

Suite 302
Williamsport, PA 17701
717-323-9314

Disposition

11/17/99

a

 

Page 1
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 9 of 101

Proceedings include all events.

4:99mw77-ALL

11/17/99

11/17/99

11/17/99

11/22/99

11/22/99

11/22/99

11/23/99

1

USA v. Makki

COMPLAINT/Warrant for Arrest from SDFL Mag. Judge William
H. Askey (seal) [Entry date 11/18/99]

MOTION to detain by USA as to Bassam Gharib Makki (seal)
[Entry date 11/18/99]

MINUTE SHEET: of Removal Hearingbefore Mag. Judge William
H. Askey. Dft. requested arabic interpreter, clerk directed
to secure interpreter. Atty Byrd (AFPD) proposed dft.
complete financial affidavit. Atty. Byrd apptd
conditionally until financial afdt. secured. Gov’t moved
for detention pending further hearing. CTR: Tape Recorded
as to Bassam Gharib Makki (seal) [Entry date 11/18/99]

MINUTE SHEET: before Mag. Judge William H. Askey as to
Bassam Gharib Makki, detention hearing held 11/22/99 as
to Bassam Gharib Makki CTR: Tape Recorded (attached to
minute sheet) (bk) [Entry date 11/23/99]

EXHIBIT list by plaintiff USA (exhibits attached) (bk)
[Entry date 11/23/99]

ORDER by Mag. Judge William H. Askey granting motion to
detain [2-1] and to remove defendant to district of
jurisdiction (SDFL) (cc: dft, USA, counsel, USM, USP, Court)
(bk) [Entry date 11/23/99]

REMARK - certified copies of docket with docket sheet sent
to SDFL (bk) [Entry date 11/23/99)

Docket as of November 23, 1999 9:21 am Page 2
Nov. BPS SER OTe oT HakRaMe S/F Wan Emered on REI TC. ‘ 20e D

5
AO 442 (Rev. 12/85) Warrant tar Arrest AUSA BUCKNER /

: United States District Court

 

 

SOUTHERN DISTRICT OF FLORIDA
UNITED STATES OF AMERICA oo
v. WARRANT FOR.ARREST ‘.
BASSAM GHARIB MAKKI nee
a/kfa Hassan Mohamad Makki CASE NUMBER: 99-3664-STB >.
“, rm 8
TO: Tha United States Marshal Co yt
and any Authorized United States Officar won EB -
oO

YOU ARE HEREBY COMMANDED to arrest__BASSAM GHARIB MAKK!_a/k/a Hassan Mohamad Makki

Nama
and bring him forthwith ta the nearest magistrate ta answer a

{ ]indictment [_ ]tnformation X|Complaint [- ]Order of court {— ]Violation Notice [ ]Probation Violation Petition

charging him with (brief description of offense)
MAKING A FALSE STATEMENT UNDER OATH BEFORE A UNITED STATES MAGISTRATE JUDGE

ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE, SECTION 1621,

STEPHEN T. BROWN
VLA

United States Magistrate Judge
Title of Issuing Officer

suasraun Lo PF

  
 
  
 

  
 
    

 

ME

Signature of lsdheh Date and Locatl

° Ny "STEPHEN T. BROWN =
| {) Th UNITED STATES MAGISTRATE JUDGE

Bal fixed at 7 | by

 

 

Name of Judicial Officer

 

f
| RETURN
t

tJ

This warrant was received and executed with the arrest of the above named defendant at

 

 

 

DATE RECEIVED | Name ANDO TITLE OF ARRESTING OFFICER SIGNATURE OF AARESTING OFFICER
DATE OF ARREST | |
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AQ 442 (Rev 12/85) Warrant for Arrest
NOV. Gapegs (PRAGr-ANS 7 O-IHslKR 4 PACYAPENK | y Entered on FLSh DorKet 12/01/1999 Page 11 of Gt.

BOND RECOMMENDATION
t t

DEFENDANT__BASSAM GHARIB MAKKI a/k/a Hassan Mohamad Makki

$_PTD (NO BOND) (Personal Surety, Recognizance, Corp. Surety, Cash) (Jail) (On
Bond) (Warrant) (Summons) (Marshal's Custody)

 

DA M. BUC
ASSISTANT UNITED STATES ATTORNEY

Last Known Address:

 

What Facility: ALLENWOOD MAXIMUM SECURITY PRISON

Special Agent: JAMES COMBS, U.S. DIPLOMATIC SECURITY SERVICE
NuV. CASS GLEE ET1G08)70-rke aAQCUBE TRY Entered on FLSI) Dacket 12/01/1999 Page 12 of 101

THE FOLLOWING IS FURNISHED FOR INFORMATION ONLY:
‘DEFENDANT'S NAME: _BASSAM GHARIB MAKKI
ALIAS: Hassan Mohamad Makki

LAST KNOWN RESIDENCE: ALLENWOOO MAXIMUM
‘ {

LAST KNOWN EMPLOYMENT:

 

PLACE OF BIRTH: Lebanon

DATE OF BIRTH:

 

SOCIAL SECURITY NUMBER:

 

 

 

 

 

HEIGHT: WEIGHT:
SEX: Male RACE:
HAIR: EYES:

 

 

SCAAS, TATTOOS, OTHER DISTINGUISHING MARKS:

 

 

 

FBI NUMBER:

 

COMPLETE DESCRIPTION OF AUTO:

 

 

INVESTIGATIVE AGENCY AND ADDRESS: U.S. DEPT. OF STATE DIPLOMATIC SECURITY SERVICE

_FEDERAL BLOG, ROOM 404 515.W. AVENUE, MIAMI, FLORIDA 33130

 
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(
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

Case No. gg ~ GOY : ol hs "

UNITED STATES OF AMERICA

V

BASSAM GHARIB MAKKI

a/kfa Hassan Mohamad Makki

f

 

CRIMINAL COMPLAINT COVER SHEET

1, Did this case originate from a matter pending in the United States Attorney's Office
prior to April 1, 1999? X Yes No
2. Did this case originate from a matter pending in the Central Region of the United

States Attorney's Office prior to April 1, 1999? Yes X__ No

Niwdd\pgtennicirculancomplaint cover .wpd

BY:

Respectfully submitted,

THOMAS E. SCOTT
UNITED STATES ATTORNEY

DAVID BUCKNER

ASSISTANT UNITED STATES ATTORNEY
Florida Bar Number 60550

9S9N.E. 4th Street

Miami, Florida 33132-2111

TEL (305) 961-9006
FAX (305) 530-7976
NOV CASH HPREPT LOS /O- TARR APACE TIEN Pay Entered on FLSD. Parcs tafgi/1999 Page 14 of 106

AO 91 (Rev, 5/85) Criminal Comptaine AUSA SUCKNER

 

United States District Court

 

 

SOUTHERN DISTRICT OF FLORIDA
UNITED STATES OF AMERICA
Vv. CRIMINAL COMPLAINT

BASSAM GHARIB MAKKI

a/k/a Hassan Mohamad Makki g4- 3GL u/- S125

CASE NUMBER:

i, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. Qn or about September 21, 1998, at Miami-Dade County, :n the Southern District of
Florida, thea above defendant, having taken an oath before a competent tribunal, officer and person, that he would
testify, declare, depose and certify truthfully, did willfully and contrary to such oath state and subscribe a material
Matter which he did not beliave to be true, in that the defendant stated while under oath before a United States
Magistrate Judge, that his name was Hassan Mohamad Makki, when in truth and in fact, and as the defendant
then and there well knew, his true name was and is Bassam Gharib Makki; in violation of Title 18, United States
Code, Saction 1621.

 

| further state that | ama special Agent and that this complaint is based on the following
teva Tithe
facts:

See Attached Affidavit

Continued on the attached and made a part hereof: [x] Yes [ |n

Signatug# of Complainant JAMES 0. COMBS
DIPL ATIC SECURITY SERVICE - STATE DEPT.

Sworn to before me and subscribed in my presence,

it) df 99 at _MIAMI-DADE COUNTY, FLORIDA
fof!

Date

City and Strate

~ STEPHEN T. BROWN
UNITED STATES MAGISTRATE JUDGE

UNITED STATES MAGISTRATE JUDGE
Nama & Title of Judicial Officer

 

 
NOV. CASE) PRIETO O-SHiR APACE MEH Ry Entered on FLSH Docker te/en/1999 | Page 15 of 104.

AFFIDAVIT

JAMES D. COMBS, being first duly sworn on oath, deposes and states as follows:

|. Tam a Special Agent with the United States Diplotnatic Security Service (DSS),
and have been so employed for nine years. Since August, 1997, I have been assigned to the
international terrorism squad, JOINT TERRORISM TASK FORCE, of the Miam, Florida,
Division of the FBI. -

2. Prior to employment with the DSS, I was employed as the Assistant Regional
Security Officer assigned to the U.S. Embassy in Ottawa, Canada.

3. This affidavit is submitted in support of my application for a criminal complaint
charging BASSAM GHARIB MAKKI, with perjury and false statements.
4. All of the information contained in this affidavit is the result of either my own

personal observations, investigation, and experience, or has been provided to me by other law
enforcement authorities.

5. On or about September 15, 1998, the Brazilian Consul General in Asuncion,
Paraguay, informed the U.S. Embassy in Asuncion that a person identifying himself as
Mohammad Ghanb Makki and bearing U.S. passport number Z7189091, had appeared at the
Brazilian Consulate in Asuncion to apply for a Brazilian tourist visa. The Consul General related
that there were several aspects about the suspect that aroused suspicion For example, the
applicant had departed Lebanon on September 14, 1998, and applied for his Brazilian visa almost
as soon as he arrived in Paraguay, which the Consul General believed was unusual and suspicious
In addition, the suspect’s U.S passport was a replacement to a lost or stolen passport. Further,
the suspect seemed anxious to obtain his visa immediately.

6 Mohammad Gharib Makki was then and remains a fugitive wanted for wire fraud,
mail fraud and failure to appear in the Easter District of New York.

7. On September 18, 1998, the suspect was arrested by the Paraguayan National
Police in Ciudad del Este, Paraguay, based upon the belief that he was the fugitive Mohamad
Ghanb Makki. Immediately after his arrest, he was flawn to the Silvio Pettirossi Intemational
Airport in Asuncion, Paraguay, and taken to the airport immigration office Immediately after he
amved, Special Agent Robert Wayne Starnes, United States Diplomatic Secunty Service

conducted an interview of the suspect. SA Starnes conducted the interview in English and the
Nay CARES PR IG APS 1O-Shen PEAY Pay Entered on FLSI pagel 42/01/1999 Page 16 of Pig

suspect appeared to understand the questions. The suspect also responded to the questions in
English.

8. Prior to the interview, SA Starnes advised the suspect of his Miranda rights. The
suspect signed a form in the name of Mohammad G. Makki and, during the subsequent interview,
stated that his name was, indeed, Mohammad G. Makki. Later, Detective Wayne T. Parola, New
York City Police Department detailed to the New York Joint Terrorism Task Force and deputized
as a Special Deputy United States Marshall, and Special Agent John G. Sorge, FBI, also
interviewed the suspect at the airport and he again stated that his name was Mohammad G.
Makki. When Det. Parola stated that he knew Mohammad G. Makk and that the suspect was
obviously not the same person, the suspect admitted to Det. Parola and SA Sorge that his name
was not Mohammad G. Makki and stated that his name was really Hassan Mohamad Makki. A
fingerprint comparison of the suspect’s fingerprints to known fingerprints of Mohammad G.
Makki confirmed that the suspect was not Mohammad G. Makk..

9. During a second interview by SA Starnes and SA Hector Rodriguez, FBI on
09/19/1998, the suspect again gave his name as Hassan Mohamad Makki. Suspect subsequently
traveled to Miami, Florida where he was arrested on passport fraud.

10. _—_— At his initial appearance on 9/21/1998 in the United States District Court for the
Southern District of Flonda, Miami Division before the Honorable Robert L. Dube, United States
Magistrate Judge, the subject was sworn and the Court asked him for his full name. The subject
stated that his name was Hassan Mohamad Makk.

10. Dung the assimilation of the pretrial services report, the subject reiterated that his
name was Hassan Mohammad Makk,

11. At his removal hearing on 09/29/1998 before the Honorable Peter R. Palermo,
United States Magistrate Judge, the Court, this time with the aid of an Arabic interpreter, again
asked the suspect his true name in open court. The suspect, who had by now had the benefit of
consulting with a Federal Public Defender, again stated that his name was Hassan Mohamad
Makki.

12. On 10/6/1998 SA Michael J. Hudspeth, Diplomatic Security Service, interviewed a
confidential informant who positively identified a photograph of the suspect as neither

Mohammad Gharib Makki nor Hassan Mohammad Makki but as Bassam Gharib Makki. The
Nov CPSQqLIPRFPI>Q0870-JLK ARR REN PAM Entered on He sa steie Page 17 of O09

informant added that Bassam Gharib Makki had a criminal record in Germany.

13. By letter dated December 4, 1998 the Bavarian Ministry of Justice in Germany
informed the Embassy of the United States that one Bassam Gharib Makki had indeed been
convicted in the Ist Criminal Chamber of the Munich Landgericht I on December 22, 1989 of
attempting to participate in a felony involving explosives. German authorities confirmed that the
same Bassam Gharib Makki was arrested in Germany in 1985 on an immigration charge. A
fingerprint comparison between known fingerprints of Bassam Ghanb Makka from Germany taken
in 1985 and those of the subject confirmed that the subject’s true name is Bassam Gharib Makki.

14. Based upon the above, your affiant has probable cause to believe that Bassam Gharib
Makki committed perjury at his initial appearance before Magistrate Judge Dube by making a
false statement under oath with regard to his identity in violation of Title 18 U.S.C. §1621

AFFIANT FURTHER SAYETH NAUGHT.

(Lp CL

SPECJAL AGENT JAMES D. COMBS
DIPLOMATIC SECURITY SERVICE

Swom to and subscribed
before me this # Hay
of November, 1999

   
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 18 of 101 A

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
M/J NO. 99-MW-077-01
Vv.
(M/J Askey)
BASSAM GHARIB MAKKI

MOTION FOR DETENTION

COMES NOW, the United States of America by David M. Barasch,

United States Attorney for the Middle District of Pennsylvania,
and moves for pretrial detention of defendant, pursuant to 18
U.S.C. § 3142(e) and (f).

1. Eligibility of Case. The prosecution is eligible fora

detention order because the Defendant is a serious risk of flight
and poses a danger, if released, to the safety of any other
person and the community.

2. Reason for Detention. The Court should detain defendant

because there are no conditions of release which will reasonably
assure Defendant's appearance as required as well as the safety
of other person's and the community..

3. Time for Detention Hearing. The United States requests this

Court to conduct the detention hearing, at the convenience of
this Court, counsel, in necessary, an interpreter, and witnesses

from Florida who.are familiar with Defendant, and the offense.
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 19 of 101

WHEREFORE, for the above-stated reasons, it is respectfully

requested that this Court conduct a detention hearing.

—e,

Cnbwek, © Matix

FREDERICK E. MARTIN
Assistant United States Attorney

Dated: November _/ / , 1999

ORDER

 

f
AND NOW this | | day of November 1999, it is hereby

ORDERED that a detention hearing as requested by the United

States, will be conducted on Novewher +0 , 1999, at a Uj:

o'clock in astro Ow | , Williamsport,

Pennsylvania.

WILLIAM H. ASKEY
United States Magistrate Judge
Case 1:99-cr-00870-JLK Document Sraatered oa FL SD, Dogket.12/01/1999 Page 20 of 10f 3

FOR T ° MIDDLE DISTRICT OF PENNS’ /ANIA #

AINUTES OF TRIAL OR HEARIN: JE id

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y
UNEPED STATES OF AMERICA

Vv.

” Dassam (Shier Makkc Case No. 495 mw TT

Date: UL2-F5
| S+ day of trial/hearing

 

 

Hon. William H. As PRESIDING open court in Williamsport, PA
Nature of Hearing/‘; fg al Hee iS

Time Commenced - PtCO Time Terminated: KAS
PLAINTIFF APPEARANCES DEFENDANT.

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Vw Dud HERD
Mt

 

 

 

PLAINTIFF'S WITNESSES:

 

Pil ep
WDERSRERT 5, WITNESSES:

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MARY E. D'ANDREA, CLERK

_ Rebecea—A—Kuhns, Deputy Clerk
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TAPE RECORDED
Case 1:99-cr-00870-JLK Document5 Entered on FLSD Docket 12/01/1999 Page € tn 101 ( os
UNITED STATES DISTRICT COURT vc

FOR THE MIDDLE DISTRICT OF PENNSYLVANIA WILI!¢ ”

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UNITED STATES OF AMERICA Ma

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eb aay of trial/hearing

 

 

Hon. William H. aoe PRES me ope ce in Wil msport, PA
Nature of HearingsSt07? arth .-
Time Commenced a 1D pre Time onic ~

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PLAINTIFF APPEARANCES DEFENDANT

Kiredarick Vite vks, AusA “D>.

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PLAINTIFF! DEFENDANT'S WITNESSES:
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CrQss Exam'd /) Cross Exam'd__)
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Cross Exam'd __) Cross Exam'd__)
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MARY E. D'ANDREA, CLERK

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MAGISTRATE JUDGE ASKEY

MIDDLE DISTRICT OF PENNSYLVANIA

GOVERNMENT’S PENALTY PHASE LIST OF EXHIBITS

UNITED STATES OF AMERICA v. BASSAM GHARIB MAKKI

CR. NO. 99-MW-077-01

DATE: November 22, 1999

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

UNITED STATES OF AMERICA, No: 98-3533-DUBE
Plaintiff, September 21, 1998
Miami, Florida
v.

HASSAN MOHAMAD MAKKI,

Defendant(s).

TRANSCRIPT OF INITIAL APPEARANCE HEARING
BEFORE THE HONORABLE ROBERT L. DUBE’,
UNITED STATES MAGISTRATE JUDGE.

APPEARANCES:
For the Plaintiff: JOHN LOO
Asst. U.S. Attorney
99 N.E. 4th Street
Miami, Florida 33132-2111
For the Defendant(s): KRISTA HOLLIS
Assistant Federal Public Defender
Transcriber: E. Lawton

Jack Besoner & Associates
Sute 220
172 Weal Flagler Street
Miami, Flonds 33130

2 .GOVERNMENT
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THE CLERK: The United States of America vs.
Hassan Mohamad Makki, 98—3533-Magistrate Judge Dube’.

THE COURT: Do you have an attorney, sir?

THE DEFENDANT: No.

THE COURT: Do you want the Court to appoint on
for you?

THE DEFENDANT: Yes. But before that maybe may-—l
need a translator from Arabic to English. May I understand,
but not all.

THE COURT: (Aside) I don’t think there is any
indication of that. He’s out of the district. This is no
big deal. In English and Arabic.

THE CLERK: Well, he can go ahead today, and I'll
order that.

THE COURT: Yeah. What we are going to do, sir,
is appoint counsel for you. And then, when it comes up to a
full-blown hearing, we'll see if we can‘t get an interpreter
for you. In fact, we will get an interpreter for you. But
I indicate from the record that you speak both Arabic and
English.

THE DEFENDANT: Yes, but-—-

THE COURT: Okay.

THE DEFENDANT: Sometimes I don’t understand good.
This is an--

THE COURT: Okay.

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Suite 220
172 West Flegler Street
Mim, Flonda 33130
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 25 of 101

1 THE DEFENDANT: --important thing.

2 THE COURT: But you do want a lawyer, don‘t you?
3 THE DEFENDANT: Uh, please?
4 THE COURT: You want the Court to appoint a lawyer

5 for you?

6 THE DEFENDANT: Yes.

7 THE COURT: Okay.

8 THE DEFENDANT: I know nobody here in U.S.A. I

9 have never been here.

10 THE COURT: Well, I’m going to get you a lawyer in
11 a minute here if you answer some questions.
12 THE CLERK: Raise your right hand, sir.

13 THE DEFENDANT, SWORN.
14 THE COURT: Okay. And for the record, sir, would
15 you give us your full name and address.
16 THE DEFENDANT: My full name?

17 THE COURT: Yeah.

18 THE DEFENDANT: Hassan Mohamad Makki. Address in

19 Beirut--

20 THE COURT: (Aside) Lebanon.

21 THE DEFENDANT: Lebanon. Harat Hanake (phonetic).
22 THE COURT: And how old are you, sir?

23 THE DEFENDANT: 30 years old.

24 THE COURT: Are you married?

25 THE DEFENDANT: Yeah.

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THE COURT: Do you have any children?

THE DEFENDANT: Yeah.

THE COURT: How many?

THE DEFENDANT: Three.

THE COURT: And how old are they?

THE DEFENDANT: The oldest is six years old, and
then three years old, and one years old.

THE COURT: Do you have any bank accounts
anyplace?

THE DEFENDANT: Any?

THE COURT: A bank--do you have money in a bank
any place?

THE DEFENDANT: In Lebanon.

THE COURT: And how much do you have in Lebanon?

THE DEFENDANT: About 10,000.

THE COURT: And what’s that in American?

THE DEFENDANT: About $10,000 U.S. dollar.

THE COURT: U.S. dollars?

THE DEFENDANT: About.

THE COURT: Okay. I think you probably can hire
your own lawyer, but I think what we are going to do
temporarily is to appoint a federal public defender. And
then aS soon as we can establish contact with a lawyer of
your own choice, then we'll allow the federal public

defender to withdraw.

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MS. HOLLIS: Krista Hollis, Assistant Federal
Defender, accepting the appointment.

THE COURT: This is a warrant and complaint out of
District of Columbia on passport fraud.

Have you got something for her?

THE CLERK: Yes, Sir.

THE COURT: What’s the government's position in
this case?

MR. LOO: Good afternoon, your Honor. Jonathan
Loo for the United States. The United States will be
seeking pretrial detention based on risk of flight. We
would ask for the three days.

THE COURT: Okay.

MR. LOO: For the pretrial detention and a removal
hearing to the District of Columbia.

THE COURT: I think we ought to be able to resolve
the attorney question within that period, I hope.

MS. HOLLIS: I hope so, too, your Honor. And I
also--I will try to speak with Mr. Makki tomorrow through
the aid of an interpreter.

THE COURT: Right.

MS. HOLLIS: And see if I can convey-—

THE COURT: Okay. We appreciate that.

MS. HOLLIS: --the attorney status.

THE CLERK: Removal and Detention Hearing on

Jack Besoner & Associates
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172 West Flagler Street
Mam, Flonde 33130
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 28 of 101

1 September 24th at 10:00 a.m.

2 MS. HOLLIS: Thank you.

3 THE COURT: Thank you.

4 (Whereupon the hearing was concluded.)

5 ee eee

6 I HEREBY CERTIFY that, the foregoing is a correct
7 transcript from the electronic sound recording of the

8 proceedings in the above-entitled matter.

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13 Transcriber Date

 

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Jack Besoner & Associates
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )

 

)
Vv. )PRESENTENCE INVESTIGATION REPORT
)
Bassam Gharib Makki Docket No. CR 98-334-01
Prepared for: The Honorable Paul L. Fnedman

United States District Judge

Prepared by: George Neal, Jr.
United States Probation Officer
(202) 565-1357 .

 

 

 

Assistant US, Attorney Defense Counsel
TT ini Stiocchern Térésa Alva, Asst. Federal Public Defender
The Judiciary Center Building 625 Indiana Avenue, N.W., Suite 550
555 Fourth Street, N.W. Washington, D.C. 20004
es Washingtén, D.C. 2000] (202) 208-7500
Si (202) 61622139
sy Seditence'Date: February 12, 1999, at 9:00 a.m.
ee2 Offense: = Counts] and 2: Misuse of a Passport (18 U.S.C, § 1544) - Not
~2 ~ more than 10 years/$250,000 fine
=o = 2?
Count 3: Possession of False Document Prescribed by Statute
and Regulation for Entry Into and Evidence of Authorized Stay and
Employment in the United States (18 U.S.C. § 1546(a)} - Not
more than 10 years/$250,000 fine ,
Release Status: Arrested September 18, 1998; arrest warrant issued on September

19, 1998; warrant executed on September 24, 1998; ordered held
without bond on November 3, 1998, in which status he remains.

———-Related Cases;—_—_—____—_None—

> GOVERNMENT
Date Report Prepared: 01-22-99 - -EXHIBIT

Date Report Revised: 02-05-99 A

The special conditions ordered by the Court are as follows:

 

4/22/99: Cx.1,2,3 - 16 months on each count concurrently; Ct.1,2,3 - 3 years supervised release; $300 Special
Assessment; defendant shall cooperate fully with the Immigration and Naturalization Service.

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‘Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 30 of 101

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MAKKYI, Bassam Gharib Page 2
Detainers: Immigration and Naturalization Services

Codefendants: None

Identifying Data:

 

Date of Birth: July 25, 1967
Age: 32
Race: White, non-Hispanic
Sex: Male
SSN: None Assigned
FBI No.: None Assigned
U.S. Marshal No.: 58753-004
Other ID Nos.: PDID 507 714
_ DCDC 279 091
Education: Some College
Marital Status: Married
Dependents: Five
Citizenship: Lebanon

Legal Address:

Aliases:

PACTS # 10981

 

District of Columbia Jail

Bassam Gharib Makki (true name)
Hassan Mohamad Makki

KSI d'l¥ 6629 Lbs LIL],

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RK/QA1/T1
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 31 of 101

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MAKKT, Bassam Gharib Page 3

PART A. THE OFFENSE
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1. On December 15, 1998, a three-count Superseding Indictment was filed in the United
States District Court for the District of Columbia, charging Bassam Gharib Makki, also
known as Hassan Mohamad Makki, in Counts 1 and 2, Misuse of a Passport, 18 U.S.C.
§ 1544. Count 3 charged Possession of a False Document Prescribed by Statute and
Regulation for Entry Into and Evidence of Authorized Stay and Employment in the United
States, 18 U.S.C. § 1546(a). The offense conduct occurred on or about September 15,
1998.

2. On December 16, 1998, Bassam Gharib Makki pled guilty to all three counts of the above
Indictment. Sentencing is scheduled for February 2, 1999.

 

Lhe Offense Conduct

3. The Government’s investigation revealed that on September 14, 1998, defendant Bassam
Gharib Makki flew from Lebanon to Paraguay using a United States passport in the name
of United States citizen Mohamad Gharib Makki. Defendant Makki had altered the valid
official document by substituting his photograph for that of the true passport holder. After
arriving in Asuncion, Paraguay, on September 15, 1998, the defendant registered with
immigration officials at the airport under the name of Mohamad Gharib Makki. He then
proceeded to the Brazilian Consulate in Asuncion and requested a visa to enter Brazil. In
support of this request, the defendant presented the altered United States passport to the
consulate officials and claimed to be Mohamad Makki. There was no signature of the
bearer on the passport.

4. Brazilian consulate offictals were suspicious of defendant’s claim of United States
citizenship and asked him questions about the passport and his citizenship. Defendant
Makki maintained that he was Mohamad Makki, that he lived in New York, and that the
passport belonged to him. The consulate officials asked the defendant to sign the
passport, but he refused to do so. They ultimately told the defendant that his visa
application would take time to process, to which he replied that he was traveling to the
city of Ciudad del Este, Paraguay, and would apply for his Brazilian visa at the consulate
there.

5. The following day, defendant Makki presented himself at the Brazilian Consulate in
Ciudad del Este and again sought a Brazilian visa. He completed an application for the
visa, again claiming to be the United States citizen Mohamad Makki and answering the

 

 

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Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 32 of 101

MAKKI], Bassam Gharib Page 4

questions on the application, as if he were that person. Defendant Makki presented the
altered United States passport in support of his application, and a consulate official
stamped the passport to indicate that a visa application was pending. Defendant Makki
had since placed a signature for “Mohamad Makk:” on the altered passport. The
consulate official handling the defendant’s application requested that he provide proof of
his retum travel from Brazil, and he submitted to her a copy of airline tickets in the name
of Mohamad Makki. The consulate official told the defendant that his visa would be
ready in two days.

6. On September 18, 1998, defendant Makki returned to the Brazilian Consulate in Ciudad
del Este to pick up the visa he had requested. He again tendered the altered United States
passport in support of the application. After waiting for the visa document for some time,
he demanded the return of “his” passport (the altered document) and left the Consulate.
He was arrested outside the Consulate, and Paraguayan police officers recovered the
altered United States passport from his shirt pocket.

 

7. Subsequent to his arrest, defendant Makki continued to claim to Paraguayan and United
States police officials to be Mohamad Makki until, through fingerprints and photo
comparisons, Federal Bureau of Investigation agents determined that the defendant was
not Mohamad Makki. Defendant Makki then claimed to be Lebanese-born Hassan
Mohamad Makki, the cousin of Mohamad Makki. Defendant Makki admitted that he
knew the passport was not his and stated that he had stolen it from his cousin. He claimed
that he had traveled to Paraguay in hope of establishing a business to import computers
to Lebanon.

8. Upon Jearning of the defendant’s illegal use and possession of the forged United States
passport, the government obtained a criminal complainant and arrest warrant for him in
the District of Columbia. He was flown to the United States and appeared before a
United States Magistrate Judge in Miami, Florida, for a Removal Hearing. Throughout
these Court proceedings , the defendant claimed to be Hassan Mohamad Makki and
provided personal information for that alleged person to the Court and to the Pretrial
Services Agency,

9. After the Indictment was returned, the government learned through fingerprint and
photographic analysis that the defendant was once again misrepresenting his true identity.
Defendant Makki ts, in fact, a Lebanese citizen named Bassam Gharib Makki, bom in
Lebanon on July 25, 1967. He is the brother of the original passport holder.

 

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10. There is no discernible victim in this case.
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11. During the pretrial detention/removal hearing in the United States District Court for the
Southern District of Florida, the defendant, when asked by the Court for his true name,
stated that his name was Hassan Mohamad Makki. He maintained this position at
hearings on September 2! and 29, 1998.

12. In addition to providing the Court with this false information, he provided the same
information to the United States Pretrial Services Agency in the Southern District of
Florida.

 

13. The defendant disagrees with certain portions of the government’s “Proffer of Facts” in
this case. First, the defendant denies that he altered the United States passport, but rather
that the passport had been altered. Second, he denies that subsequent to his arrest that he
continued to claim to be Mohamad Makki, until the Federal Bureau of Investigation
agents determined that he was not Mohamed Makki. Third, Mr. Makki disputes the
government’s contention that throughout his Court proceedings he claimed to be Hassan
Mohamad Makki and that he provided personal information for that alleged person to the
Court and to the Pretrial Services Agency.

14. During the interview with the probation officer, Mr. Makki admitted to stealing his
brother’s passport with the intention of using it to trave) to Brazil for business purposes.
He asserts that the reason he did not use his real name was due to a criminal conviction
he obtained in Germany in 1989. He assumed the name Hassan Mohamad Makki due to
the great shame he felt and the potential problems that he would face in his country due
to his conviction. His conviction was reported in the local press in his country.
Consequently, he felt that he necded a new identity if he was going to have any type of a
nomnal life in Lebanon.

Offense Level Computation

15. The 1998 edition of the Guidelines Manual has been used in this case.
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 34 of 101

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MAKKI, Bassam Gharib Page 6

16.

Counts 1, 2, and 3 are grouped together, pursuant to U.S.S.G. § 3D1.2(a) because they
involved the same victim and the same act or transaction.

 

 

 

17. Base Offense Level: The guideline for violation of 18 U.S.C. §§ 1546(a) and 1544 is

found in U.S.S.G. § 2L2.2. This section provides for a base offense level of 8. 8
18. Specific Offense Characteristics: None 0
19. Victim-Related Adjustment: None 0
20. Adjustment for Role in the Offense: None 0
21. Adjustment for Obstruction of Justice: During two detention hearings and to the

Pretrial Services Agency, the defendant provided materially false information as to his

true identity. As such, two levels are added, pursuant to U.S.S.G. § 3C1.1. +2
22. Adjustment for Acceptance of Responsibility: Although the defendant pled guilty to all

three counts in the Indictment, he has not accepted personal responsibility for his conduct

as noted by the two level enhancement, pursuant to U.S.S.G. §3C1.1. Therefore, no

adjustment is made, pursuant to U.S.S.G. § 3E].1(a). 0
23. Adjusted Offense Level (Subtotal): 10
24. Chapter Four Enhancements: None 0
25. Total Offense Level: 10

ffense Behavior No v nd

26. On September 23, 1993, the defendant entered the American Consulate in Damascus,

Syma, and filled out a Visa application. In doing so, he provided a false, sworn statement

under penalty of perjury that he had never been convicted of a crime. He received a

conviction in Germany for a crime involving moral turpitude in 1989.
27. In addition to the above, when the defendant was detained in Paraguay, he had, in his

possession, his brother’s social security card.!

1Mr. Makki is neither admitting nor denying what is contained in these paragraphs.

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MAKKI, Bassam Gharib | Page 7

PART B. THE DEFENDANT'S CRIMINAL HISTORY
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28. None known.

Adult Criminal Conviction(s)
29. None
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30. _—‘ The total criminal history points is 0. According to the Sentencing Table (Chapter 5, Part
A), 0 or ] criminal history points establish a criminal history category of I.

 

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31. On June 22, 1989, the defendant was arrested in Munich, Germany, and charged with
Attempting in the Participation in Bringing About an Explosion. On December 22, 1989,
he was sentenced to 2 years jail. The defendant was represented by counsel.

The trial produced the following facts of the case:

The defendant is an opponent of the State of Israel and of the United States of America,
which supports this State. For an undetermined time he has had connections with
similarly-minded persons or organizations in Beirut, Lebanon, who engage in or have an
interest in preparing and executing bomb attacks against Israeli, Jewish, or American ~
installations in the Federal Republic of Germany or in having such attacks prepared and
executed.

The defendant reconnoitered suitable targets as ordered and on his own initiative and
offered to undertake the executions of such attacks or at least to collaborate as an
accomplice. For this purpose, he was in Munich on September 19, 1988, and
photographed three buildings designated for attack. He sent a letter in code with
photographs of the targets. The codes for information detailed in the letter was found in
the defendant’s apartment.

According to information contained in the file, Mr. Makki was released from custody on

July 22, 1990, and deported to Syria a year before his sentence was due to expire. Mr.
Makki had claimed asylum before his arrest and the German authorities did not want the

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MAKKyI, Bussam Gharib Page 8

possibility of his remaining in the country after his sentence expired. Mr. Makki agreed
to drop his request for asylum and to accept early deportation, in exchange for his early
release.

The defendant admitted the activities charged to him, but claims to have acted under
duress. He indicated that while he has no sympathy for the Israeli occupation force, he
is neither a terrorist nor does he support such activities.

Mr. Makki stated in the interview with the probation officer that not only was he
threatened but also his family in Lebanon were threatened by individuals who did not
identify themselves. Mr. Makki stated that out of fear he had gone to an immigration
officer and foreign students case manager at the university. He admitted committing some
of the activities, such as taking photographs. Mr. Makki did not know the purpose of the
activities.

“——~Trr_addi tion, “he-sard that heap pealed the-conviction-and-that-when—the-Germany- ~~ --
government offered to release him in exchange for withdrawing the appeal, Mr. Makki
accepted. Mr. Makki stated that if he knew then what the consequences this conviction
would have in his future he would not have withdrawn the appeal.

PART C. OFFENDER CHARACTERISTICS
Personal and Family Data

32. The defendant was born on July 25, 1967, in Bint-J’beil in South Lebanon and grew up
with his six siblings. His parents are Fatima and Ghanb Makki. His father died 2 years —
ago from cancer. He was employed with the city administration in Beirut. His mother
lives in Beirut and never worked outside the home.

33. The defendant described a close family unit. He stated that the family’s economic
disposition was not good when he was a child. However, his older brother financially
contributed to the family.

34. The defendant has seven siblings who all reside in Lebanon. His siblings are Mosa
Makki, age, 40, Mohamad Makki, age 38”, Issam Makki, age 37, Haza Makki was killed
in the country’s civil war in 1984; Gassan Makki, age 30, Wesal Makki, age 35; and
Yasmin Makki, age 24.

 

*The defendant’s brother has a pending Indictment in the Eastern District of New York for
Wire Fraud, Mail Fraud, and Bail Jumping.

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MAKKI, Bassam Gharib Page 9

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The defendant indicates that he has been married twice. He claims that his first wife
divorced him because of the threats that he and she received from militia groups in
Lebanon. They married in 1988, and were divorced one year later in 1989. No children
were bom to this union. In 1991, the defendant said that he married Zeinab Hoteit Sted,
age 28. The marriage has produced four children. His children are Hassan Makki, age
7; Fatima Makki, age 4; Yasir Makki, age 3; and Basi] Makki, age 3. The latter two
children are twin boys.

The Immigration and Naturalization Services has lodged a detainer.

The defendant stands 5 feet 11 inches tall and weighs 143 pounds. He has black hair and
brown eyes. He reported no current or past health problems.

 

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The probation officer has no information indicating that the defendant is suffering from
any past or current mental health problems.

Substance Abuse
Mr. Makki denied the use of any illegal drugs and the abuse of alcohol.
tional and V

The defendant graduated from Ghubainy High School in Beirut, Lebanon, in 1985. On
December 2, 1985, the defendant traveled via Berlin to the Federal Republic of Germany
as an applicant for asylum. After he learned that as someone given asylum, he would not
be able to undertake studies in the Federal Republic of Germany for the foreseeable
future, he went back to Lebanon - with financial support from a church organization - and
applied successfully from there for admission as a student in Germany. After withdrawing
his request for asylum, he received a resident permit in April 1988 for study purposes and
studied physics up to his provisional arrest on June 22, 1989, at the Technische
Hochschule (Institute of Technology) in Darmstadt, Germany. He received a full
scholarship from the Hariri Foundation.

 

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MAKKI, Bassam Gharib Page 10

41. Also, after his release in Germany, from approximately 1990 to 1992, Mr. Makki said he
continued his physics studies in Lebanon at the Lebanese University. In addition, the:
defendant reported that he attended a private institute to learn computer programing and
computer assembly. .

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42. The defendant noted that at the time of his arrest, he was self-employed. He indicated that
he owns an Internet Center (computer business) in Lebanon. He reported a monthly
income of $1,000. He commenced this business in 1997.

43. Prior to the above employment, the defendant reported employment with the Computer
Center in Beirut, Lebanon, from 1992 ta 1996, as a manager/salesperson.

44. From 1990 to 1991, the defendant indicated that he was student.
45. From 1989 to 1990, the defendant was incarcerated.

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46. During the intermew with the probation officer, Mr. Makki reported that he co-owns a
computer company and that he owns his apartment. In addition, he owns a car and has
a saving accounts (approximately $10,000). Based on the foregoing, it does appear that
he has the ability to pay a court ordered fine.

PART D. SENTENCING OPTIONS
Custody

47. Statutory Provisions: Counts 1, 2, and 3: Not more than 10 years, a Class C felony. 18
U.S.C. § 1546(a)

48. Guideline Provisions: Based on a total offense level of 10, and a criminal history
category of I, the guideline imprisonment range ts 6 to 12 months. If the applicable
guideline range is in Zone B of the Sentencing Table, the minimum may be satisfied by
(1) a sentence of impnsonment; or (2) a sentence of impnsonment that includes a term of
supervised release with a condition that substitutes community confinement or home
detention, according to the schedule in subsection (e), provided that at least one month
is satisfied by imprisonment, or (3) a sentence of probation that includes a condition or
combination of conditions that substitute intermittent confinement, community
confinement, or home detention for imprisonment, according to the schedule in subsection

(e).

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MAKKI, Bassam Gharib Page 11

Supervised Release

49. Statutory Provisions: Counts 1, 2, and 3: Not more than 3 years. 18 US.C. §
3583(b)(2).

50. Guideline Provisions: Counts 1, 2, and 3: At least 2, but not more than 3 years.
U.SS.G. § S5D1.2(a)(2).

Probation

$1. Statutory Provisions: Counts 1,2, and 3: The defendant is eligible for probation by
statue. The term shall be no less than 1 year nor more than S years. 18 U.S.C. §
3561(c)(1).

52. Guideline Provisions: Counts }, 2, and 3: The defendant is eligible for probation for a

 

term of at least 1 year nor more than 5 years. USSG § 5BI 2a).
Fines

53. Statutory Provisions: Counts 1,2, and 3: - The maximum fine is $250,000. 18 U.S.C.
§ 3571(b)(3).

54. _ A special assessment of $100 is mandatory on each count of conviction for a total of
$300. 18 U.S.C. § 3013.

55. Guideline Provisions: The minimum fine is $2,000, and the maximum fine is $20,000.
U'S.S.G § 5E1.2(c)(3).

R it 7 .
56. There is no restitution owed in this case.
PART E. FACTORS THAT MAY WARRANT DEPARTURE

57. Presentation of information in this section does not necessarily constitute a
recommendation by the probation officer.

58. Pursuantto U.S.S.G. § 5K2.0, the sentencing Court may consider a downward departure
from the applicable guideline range established by the United States Sentencing
Commission if aggravating or mitigating circumstances are present, which were not
adequately taken into account by the United States Sentencing Commission. Based on
this premise, in United States v. Renford George Smith, 93-3012, the United States Court

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MAKKI, Bassam Gharib Page 12

of Appeals for the District of Columbia Circuit, decided on July 8, 1994, that “a
sentencing Court may depart below the range indicated by the Sentencing Guidelines
where the defendant, solely because he is a deportable alien, faces a prospect of
objectively more severe prison conditions than would be otherwise.” Like the appellate,
the defendant is a citizen of another country, and based on the instant offense, is
considered deportable alien. As such, his status as a “deportable alien renders him almost
certainly ineligible for benefits of 18 U.S.C. § 3624(c), which directs the U.S. Bureau of
Prisons to the extent practicable to assure that prisoners spend part of the 10% of the
sentence, but not more than 6 months, under conditions that will afford the prisoner a
reasonable opportunity to adjust to and prepare for his reentry into the community.” The
Bureau of Prisons’ regulations bar illegal aliens from assignment to a community
corrections center, except in rare circumstances. In addition, the Bureau of Prisons’
policy prevents the defendant from being assigned to serve any part of his sentence ina
minimum security prison, subject to the same expectations as community confinement.

 

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indicates that the criminal history category does not adequately reflect the seriousness of
the defendant’s past criminal conduct or the likelihood that the defendant will commit
other crimes, the court may consider imposing a sentence departing from the otherwise

“+ ++ ++: applicable -guideline range: Such information may include, but is not limited to,
information concerning: (1) prior sentence (s) not used in computing the criminal history
category (e.g. sentences for foreign and tribal offenses) and prior similar adult criminal
conduct not resulting ina cnminal conviction.

Respectfully submitted,
RICHARD A..,HOUCK, JR.

CHIEF U. OBATION oN
By: [le

George Nebl, Ir {

United States Probation Officer

 

 

 

Approved:

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Tobin P. Sullivan Date

Supervising United States Probation Officer

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MAKKI, Bassam Gharib Page 13

ADDENDUM TO THE PRESENTENCE REPORT

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
UNITED STATES V. BASSAM GHARIB MAKKI, DKT NO. CR 98-334

The presentence report was disclosed to all counsel on January 22, 1999.

Assistant United States Attorney Tina Sciocchetti submitted the Receipt and Acknowledgment
form to the United States Probation Office on February 3, 1999.

Assistant Federal Public Defender Teresa Alva submitted the Receipt and Acknowledgment form
to the United States Probation Office on Febmary 3, 1999.

OBJECTIONS

 

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Assistant United States Attorney Tina Sciocchetti reviewed a copy of the presentence report and
noted several factual/material inaccuracies. We agreed with counsel on several of the factual
inaccuracies and amended the presentence report... However, the remaining issues-are submitted
here for the record and don’t impact guideline calculations.

Page 1: The statutory maximum penalties for counts 1-3 are 25 years if the offense was
committed to facilitate an act of international terrorism, 20 years if the crime was committed to
facilitate a drug trafficking crime, 15 years if the offense is the defendant’s third or subsequent
conviction under the statute, or 10 years if none of the above applies. The government agrees that
the maximum fine is $250,000.

Page 4, paragraph 7: Subsequent to his arrest, defendant Makki continued to claim, to Paraguayan
and United States police officials, that he was Mohamad Makki. Alluding to Mohamad Makki’s
flight from an indictment in the E.D.N.Y., defendant stated that he had tumed in his passport to
the U.S. courts in New York, then left the country using his Lebanese passport. He claimed that
he did not know that he could not leave the country after he relinquished his passport to the court.
When FBI agents from New York arrived in Paraguay to take Mohamad Makki back to the
United States, he told these agents that he was Hassan Mohamad Makki, the cousin of Mohamad
Makki. He stated that he had stolen the passport from his cousin, knew it was wrong, and wanted
to return to Lebanon. The FBI confirmed that defendant was not Mohamad Makki through a
fingerprint comparison of the defendant to the photograph in Mohamad Makki’s original
passport. The defendant provided, to all law enforcement agents, a date of birth and other identity
information for “Hassan Makki” that does not match the information he has provided to the

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MAKKI, Bassam Gharib Page 14

presentence report writer, In addition, he stated that Bassam Makk: was his cousin. Defendant
claimed that he had traveled to Paraguay in hope of establishing a business to import computers
to Beirut.

Page 5, paragraph 11: The defendant told the court, in Miami, that he was 30 years old, witha
date of birth of 6/6/68; that he had three children aged 6, 3 and 1; and that he had $10,000 ina
bank in Lebanon. This contradicts information provided to the presentence report writer.

: Page 5, paragraph 12: The defendant provided this same false information to the Pretrial Services
Agency in Florida and also told that Agency that he had a valid passport that had been confiscated
by agents.

Page 5, paragraph 14: It is the government’s understanding that defendant disavowed to the
presentence report writer any knowledge of the circumstances of his brother’s passport and
pending charges in New York. In light of defendant’s contrary staternents to this effect after his

 

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In addition, the government disputes the facts set forth in paragraph 14, and submits that it is
further evidence of the defendant’s non-acceptance of responsibility. The government intends
to present, to the Court, information in its sentencing memorandum, along with supporting
evidence, setting forth the basis for this dispute.

Page 6, paragraph 21: The defendant also provided materially false information to law
enforcement agents that significantly impeded the official investigation of the instant offense and,
as demonstrated in the objections contained herein, has provided materially false information to
the presentence report writer.

Page 6, paragraph 26: The government believes that this paragraph should be included under
defendant’s “other criminal conduct” on pages 7-8. In addition, it requests that the following
description of the criminal conduct be substituted for this paragraph:

While he was detained in Germany, pending trial in September, 1989, defendant’s father, who
had legal status in the U.S., petitioned for an immigration visa for the defendant to come to the
US. If approved, the visa would have allowed the defendant to stay in the United States as a
permanent resident alien immediately upon his arrival here, and ultimately would have enabled
him to obtain United States citizenship. The defendant’s father (and his brother Moussa Makki
who filled out the form) lied under penalty of perjury on the application, stating that defendant’s
address was in Beirut, Lebanon, instead of the detention center in Germany, and that the
defendant was single and had never been married. On the basis of this false information, the
State Department approved this application.

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MAKKI, Bassam Gharib Page 15

On February 13, 1991, defendant entered the American Consulate in Damascus, Syria, and
presented his Application for Immigration Visa and Alien Registration. Under penalty of perjury,
defendant made numerous false statements on the application (and statements that contradict his
statements to the presentence report writer here), including 1) that he was single (never married);
2) that his occupation was as a student (in the PSR, defendant claims that he was working as a
manager/salesperson at the “Computer Center” in Beirut from 1992-1996); 3) that he has no
children (in the PSR, defendant claims to have a seven-year-old son) 4) failing to mention that
he speaks fluent German (the German court noted that defendant speaks fluent German); 5) that
he lived in Beirut since he was bom, despite the fact that he lived in Germany twice; and 6) that
he had never “‘been arrested, convicted or ever been in a prison...” The defendant swore to the
truthfulness of the information contained in the application and signed the same in the presence
of a State Department consular officer.

When the State Department reviewed defendant’s application, his prior conviction in Germany
——— —wasdiscovered-andhrs apphcation was rejected Orr October 28, 1993; defendant retumed to the

 

U.S. Embassy in Syna to pursue the denial of his immigration visa. The defendant claimed that
the information the embassy had about his prior conviction was incorrect, and asserted that he
encountered minor difficulties with the German authorities, but that the Germans let him leave
the country. The defendant insisted that he had not been convicted of a crime in Germany. The
State Department did not issue the defendant a visa.

Because the defendant lied about his identity when he was arrested for the instant offense, these
offense were discovered only after the government proved the defendant’s true identity and his
prior conviction, in November, 1998. By that time, prosecution of this offense was time-barred.

Page 8, paragraph 31: The government would like the writer to note that in the defendant’s
official German conviction document, a certified copy of which will be provided to the Court,
the German court specifically discredited, and discussed the contrary proof of, the defendant’s
claim that he acted under duress.

Page 9, paragraphs 41 and 42: The government disputes that the defendant was self-employed
as the owner of “Internet Center” in Lebanon, and that he worked with the “Computer Center”
from 1992 to 1996. The government notes that there are no telephone listings for such businesses
in Beirut, and no business “Intemet Center” appears on the Internet as a service provider in
Lebanon. Neither does defendant’s name (either as Hassan or Bassam) even come up in a search
of the Internet, including the Internet white pages for Lebanon. Finally, the government
consulted the financial controller (the person who does all billing and accounts receivables) for
the largest Internet service provider in Lebanon, which is located in Beirut, and that person stated
that neither he/she, nor anyone else in the office, had ever heard of the defendant. The
govemment will provide proof of this to the Court in its memorandum in aid of sentencing in the
form of an affidavit and other documentary evidence.

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MAKKiI, Bassam Gharib Page 16

Page 9, paragraph 43: The government disputes this fact and notes that no specific academic
enrollment information is provided by the defendant.

Page 10, paragraph 45: The government disputes that defendant has no assets and cannot pay a
fine.

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This paragraph has been changed to reflect the defendant’s financial condition.

By the Defendant

Assistant Federal Public Defender Teresa Alva reviewed a copy of the presentence report and
noted several factual/material inaccuracies. We concurred with counsel on several of these issues

and amended the presentence report. However, several issues remain unresolved. .We are
submitting these issues here for the record. °

Page 4, paragraph 7: It is reported that Mr. Makki continued to claim to be “Mohamad Makki”
until, through fingerprints and photo comparisons, the FBI determined he was not. Although Mr.
Makki initially claimed to be “Mohamad Makki” when he was arrested, he then told the police
that he was not. For clarification, Mr. Makki did not give the name “Hassan Makki” only when
confronted with the results of the fingerprints and photo comparisons results, as implied in this
paragraph, but rather gave the name “Hassan Makki” upon being asked his name.

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We believe the dispute regarding this issue is sufficiently noted on page 5, paragraph 13 of the
presentence report.

On Page 6, paragraph 21: The defense objects to the two level enhancement for obstruction of
justice under section 3C1.1 of the sentencing guidelines.

 

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MAKKI, Bassam Gharib Page 17

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During the entire judicial process, the defendant provided false information as to his true identity.

His true name is Bassam Gharib Makki. It was not until later that the government determined
his real identity.

CERTIFIED BY:

 

 

U.S. Probation Officer

 

Approved:
Tobin P. Sullivan Ale.

Supervising U.S. Probation ee one

 

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UNITED STATES DISTRICT COURT
for the District of Columbia

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UNITED STATES OF AMERICA

Vv. Case Number CR 98-334

BASSAM GHARI8 MAKKI aka Hassan Mohamad Makki

Defendant.
JUDGMENT IN A CRIMINAL CASE

(For Offenses Committed On or After Novernber 1, 1967)

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FILED

APR 25 1995

Cherk, U8. Jisteect Cour
Dratiot ef Calumira

The defendant, BASSAM GHARIB MAKKI aka Hassan Monamad Makki, was represented by Teresa Alva, Esquire.

On motion of the United States the court has dismissed Onginal indictment.

The defendant pied guilty to counts 1s, 2s and 3s of the superseding Indictment on 12/16/98. Accordingly, the defendant

is adjudged guilty of such counts, involving the following offenses:

Tile & Section Nature of Offense Date of Offense

TB USC 1544 Misuse of a passpor September 15, 1998
1B USC 1844 Misuse of a passport Seplembar 16, 1998
18 USC 1548(8) Possession of false docurnents prescribed by statute September 18, 1998

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authorized stay and employment in ths United States

Count
Number(s)
1s

238
3s

As pronounced on April 22, 1999, the defendant is sentanced as provided in pages 2 through 6 of this Judgment The

sentence is imposed pursuant to the Sentencing Reform Act of 1984.

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The mandatory special assessment is included in the portion of this Judgment that imposes the Crimina) Monetary

Penalties.

fis further ordered that the defendant shail notify the United States Attorney and the Clerk's Office for this district within
30 days of any cnange of name, residence, or mailing address until all fines, restitution, costs, and special assessments Imposed

by this Judgment are fully paid.

Signed this the oo 2 day of April, 1999.

 

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50-32 3- $$62
NSN 7540 01-317 7368 SO9g.101 GENERAL SERVICES ADMINISTRATION

Defendant's SSN: None
Defendant's Date of Birth: 6/6/68
Defendant's USM Na.: 58753-004
Defendant's address: Unknawn

    

  

GOVERNMENT

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Defendant BASSAM GHARIB MAKKI aka Hassan Mohamad Maki
Case Number. CR 98-334

Judgment-Page 3 of 6

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall bs on supervised release fora term of THREE (3) years (if not deported).

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau af Prisons.

The defendant shall mot commit another federal, state, or loca! crime.
The defendant shall not illegally possess 8 controlled substance.
The defendant shall refrain from any unlawful use of @ controlled substance,

The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as directed by the probatian officer.

Tne defendant shall not possess a firearm as defined in 16 U.S.C. § 921.

If this judgmens imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
such fine or testitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by the probation office of this court set forth on
the next page. The defendant shall also comply with the following special conditions:

The Court finds the defendant does not have the ability to pay a fine, or costs, of incarceration or supervision.

The defendant shall cooperate fully with the Immigration and Naturalization Service.

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“~ Judgment—Page 4 of 6

Defendant: BASSAM GHARIB MAKKI aka Hassan Mohamad Makki
Case Number. CR 98-334

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STANDARD CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this Judgment

The defendant shall not leave the judicial district without the permission of the court or probation officer.

The defendant shall report to the probation officer as directed by the ccurt or probation officer and shall submit a truthful
and complete written report within the first fe days of each month.

The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer.

The defendant shal{ support his or her dependents and meet other family responsibilities.

The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
or other acceptable reasons.

The defendant shall notify the probation officer ten days prior to any change in residence or employment.
The defendant shall refrain from excessive use of alcohol.
The defendant snail not frequent places where controlled substances are illegally sold, used. distributed, or administered,

The defenaant shal! not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer.

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer.

The defendant shall notfy the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer.

The defendant shall not enter into any agreement to act as an infarmer or a special agent of a law enforcement agency
without the permission of the court.

As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.

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Judgment~Page 5 of 6

 

- Defendant: BASSAM GHARIB MAKRréka Hassan Mohamad Makki —

Case Number. CR 98-334

CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set fonn
below under SCHEDULE OF PAYMENTS heading.

 

 

 

 

 

 

 

 

 

 

 

Count Assessment Fine Restitution
1s $100.00 $0.00 $0.00
2s $100.00 $0.00 $c.00
3s 3100.00 $0.00 $0.00

TOTALS: $300.00 , $0.00
SCHEOULE OF PAYMENTS

Payments shall be applied in the following order. (1) assessment (2) restitution: (3} fine principal; (4) cost of prosecution; (5)
interest, (6) penaltes.

Payment of the total fine and/or other criminal monetary penaties shall be due in full during period of incarceration or
supervision.

Unless the court has expressly ordered otherwise, # this judgment imposes a penod of imprisonment, payment of cnminal
monetary penalties shall be due during the period of imprisonment All erminal monetary penalty payments except these payments
made through the Bureau of Prsons’ Inmate Financial Responsibility Program are to be made as directed by the cour, the probation
officer, of the United States Atomey.

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- . a Judgment—Page 6 of §
Defendant. BASSAM GHARIB MAKkraka Hassan Mohamad Makki
Case Number. CR 98-334
STATEMENT OF REASONS

0 The court adopts the facnual findings and guideline application in the presentence report.
OR

xO The coun adopts the factual findings and guideline application in the presentence report except
(see atuachment, if necessary): See Court's Opmion of 4/20/99 (Attached)

Guideline Range Determined by the Court:
Total Offense Level: 10
Criminal History Category: OT
Imprisonmem Range: 10 to 16 months

Supervised Release Range: to years

 

Fine Range: § to$
C) Fine is waived or is below the guideline range, because of the defendant's mability to pay.
Tota) Amount of Restimdon: $

0 Resirution is not ordered because the compjicadou and prolongation of the sentencing process resulting from the
fashioning of & restinugon ofder outweighs the need to provide restitution to amy victims, pursuant lo 18 U.S.C. §
3663(d).

0 For offenses committed on or after Septernber 13, 1994 but before April 23, 1996 that require the total amount of loss
to be stated, pursuant 10 Chapters 109A, 110, LIOA, and 113A of Tide 18, restitution is not ordered because the
economic circumsvances of the defendant do not allow for the payment of ary amount of a restitution order, and do
not allow for the payment of any or some portion of a restitution order in the foreseeable fume under any reasonable
schedule of payments.

Oo Partial resurution is ordered for the following reasons(s):

t

0 The sentence is within the guideline range, that range does not exceed 24 months, and Me cour finds no reason to depart from
the semrence called for by application of the guidelines,

OR
O The sentence is within the guideline range, that range exceeds 24 months, and the sentence is imposed for the following
reason(s):
OR

The senzeace departs from the guideline range:
QO upon motion of the gavernment, as a result of defendant's substantial assistance.

Xo for the following specific reason(s): Under Section 4A1.3 for the reasons stated fn the Court’s Opinion of 4/20/99
{Attached}

800d £h60 S27 20C: iL did 98:01 (301) 66 $2 ~ “A¥K
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PAGE 001 OF QOO1 *

REG NO..:

CATEGORY: ARS

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004 NAME....: MAKKI, BASSAM GHARIB
FUNCTION: DIS FORMAT:

DESCRIPTION

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ADMITTED TO AN IN-TRANSIT FACL
ADMINISTRATIVE RELEASE
ADMINISTRATIVE ADMISSION

PRE SENT DETAINEE REMOVED
PRE-SENT ADMIT, ADULT

PRE SENT DETAINEE REMOVED
PRE-SENT ADMIT, ADULT

*

START DATE/TIME

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STOP DATE/TIME

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German
Bavarian Ministry of Justice
Gz _ 9352 b E -U ~- 2580/98 Munich, December 4, 1998
(Please cite in reply) Telephone 089/2597 2264

Bavarian Ministry of Justice 80097 Munich

Embassy of the
United States

of America

Attn: Mr. Masley
Deichmanns Aue 29

By fax

53179 Bonn

Judicial Assistance in Criminal Cases
here: Request of the American Embassy in Bonn for

Transmission of a Judgment in a Criminal Case Against
Bassam Garib Makki

With 1 enclosure

Dear Mr. Masley:

I have the honor to transmit to you at first by fax a photocopy
of the Judgment of the ist Criminal Chamber of the Munich
Landgericht I dated December 22, 1989 (Gz. 1 KLs 112 Js 3948/89)

in response to letters rogatory. A sentencing calculation will
be sent later.

Accept the assurances of my highest esteem
Per procuration

[signature]
Fischer
Division Chief

 
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_IN THE NAME OF THE PEOPLE!

In the criminal proceedings against

Makki, Bassam Gharib, born on July 25, 1967 in Bint-
J'beil/Lebdanon
Married student,
Lebanese citizen,
last residing at:
Elisabethenstrasse 64, 6100 Darmstadt,
at present in the Munich-Stadelheim
prison

Parents: Gharib and Fatima Makki, the
latter nee Makki

for attempting to participate
in a felony involving explosives

in the public session of December 22, 1989 on the basis of the
trial on the same day in which the following pe*~-ons
participated:

1. the presiding judge Presiding Judge
at the Landgericht
Dr. Hollenrieder,
Case 1:99-cr-00870-JLK Document5 Entered on FLSD Docket 12/01/1999 Page 63 of 101

2. the associate judges: Judge at the Landgericne
Kleiner ,
Judge at the Landgericht
Hopfensperger,
3. the lay judges a) Sebastian Mann,

b) Bodo Fitz,

4. the orosecuting attorney Public Prosecutor
Schubert,
5. the defense attorneys: Attorney Eysell,

Attorney Wachter,

6. the clerk of the court: Legal Secretary
Beut lhauser

the 1st Criminal Chamber of the Munich Landgericht I issues the
following

Judgment:

4

Tuc defendant Bassam Gharib Maxxi 1s sentenced to
imorisonment for

2 years
for attempted participation in bringing about an explosion.

IT. The defendant shall bear the court costs and his necessary
expenditures.
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Statutes applied:
§§ 30/1I, 311 StGB [Criminal Code].

Grounds:

r
+e

The defendant was born on July 25, 1967 in Bint-J'beil in South
Lebanon and grew up with his 6 siblings (5 brothers, 1 sister) in
Beirut. His father was employed with the city administration.
The family lived in East Beirut up to 1976, then fled to South
Lebanon because of the civil war's chaos, and then returned to
West Beirut. Today two of the defendant's brothers live in the
United States, one brother perished in the civil war, and the
rest of the family lives in South Lebanon again.

The defendant — iike his family - professes the Islamic religion,
to be more precise, the Shiite branch.

He attended high school in Lebanon up to graduation. At the wish
of his family he was supposed to go abroad subsequently for
[university] study, not least in order to be safe from the
effects of the civil war. On December 2, 1965 [sic] the
defendant traveled via Berlin to the Federal Republic of Germany
as an applicant for asylum. After he learned that as someone
given asylum he would not be able to undertake studies in the
Federal Republic of Germany for the foreseeable future, he went
pack to Lebanon — with financial supsort from a church
Organization - and applied successfully from there for
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 65 of 101

admisSion as a student in Germany. After withdrawing his request
for asylum he received a residence permit in April 1988 for study
purposes and studied physics up to his provisional arrest on June
22, 1989 at the Technische Hochschule [Institute of Technology]
in Darmstadt. He speaks fluent German. Already during his stay
aS an applicant for asylum he attended German courses in the
Landkreis (rural district] Friesland and sought to have his high
school diploma recognized.

The defendant is married. His wife lives in Beirut. According
to his testimony the marriage was registered in Lebanon in
February 1987, after he had already been married in a religious
ceremony. He lives from a stipend amounting to DM 1,000.00 and
Support from his brother in the United States.

The defendant is healthy physically and mentally. He has no
prior criminal record in this country, and according to his
testimony, not abroad either.

These statements regarding the personal circumstances of the
defendant are based on the latter's testimony, which appears to
be credible in this regard, in the trial, and on information
dated December 2, 1989 that was obtained from the
Bundeszentralregister [Federal Central Registration Office}.

Il.
The trial produced the following facts of the case:

The defendant 15 an opponent of the State of Israel and of the
United States of America, which supports this State. For an
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 66 of 101

undetermined time he has had connections with similarly minded
persons or organizations in Beirut, Lebanon, who engage in or
have an interest in preparing and executing bomb attacks against
Israeli, Jewish, or American installations in the Federal
Republic of Germany or in having such attacks prepared and
executed.

The defendant reconnoitered suitable targets as ordered and on
his own initiative and offered to undertake the execution of such
attacks or at least to collaborate as an accomplice.

For this purpose he was in Munich on September 19, 1988 in any
event and photographed here three buildings designated in more
detail later that were considered for an attack.

On September 23, 1988 he sent a package to a Hadi Kassab/Dagher,
Beirut, Lebanon, P. 0. Box 11/7556 via the companv DHL Worldwide
Express GmbH, Fasanenweg 5a, 6092 Kelsterbach. tne DHL company
1S a private mail shipping company that provides mailing services
even to crisis areas, in particular Lebanon. The package
contained a city atlas of the Rhine-Main area, a letter written
in Arabic by the defendant, and 13 numbered color photographs.

The photographs show:

1. The building of the Israeli religious community in Munich at
Reichenbachstrasse 27 in Munich (photos Nos. 1-7),

2. The property Maximilianplatz 15 in Munich in which the
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office of the Israeli airline El-Al is located (pnotos 8 -
10), as well as

3. the building of the Israeli Trade Representation at
Widenmayerstrasse 117 in Munich (photos 17-13).

In the letter that accompanied the package brought to be sent the
defendant refers to previous contacts with the addressee and
talks about various BMW cars that he says he has located. In the
process the photographs are allocated to each of the types of
cars. One BMW concerning which he states that it combines the
models 320 and 520 is given particular attention. In addition,
the letter contains telephone and fax numbers at which the
defendant can be reached. Subsequently he mentions a BMW 520
that he did not buy because of papers that were missing. The
letter is signed "Jozef"! and has the following text in German
according to the certified translation of the interpreter, Monsa
El-~Sohsal:

"To the good friend Dagher,
Cordial greetings
I hope that things are going well for you and that you are in the
best of health. Further I hope that you have regained your
vitality after this summer vacation. I also hope that the study
Situation"! is more favorable than previously. Please let me
know how all the friends are and what they are doing in their
studies"!

If you ask about us*“, we are fine. What we really miss is being
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together with you all and the relatives in our homeland. Life
abroad is difficult. Please tell my mother that I am nomesick
for her. When I was quite alone twice, I thought very strongly
about her.

With reference to your urgent wish I have attempted to find the

right one for you, aS one says here, a "good catch." It is
supposed to be a surprise for you, but I sent you a picture of it
anyway (3). It is a BMW. It is in good condition and looks

"loaded.""3 When you see it, you will realize that the two
models 320 and 520 are combined in it. This is the most
favorable one that I have found in the region. Other cars that I
found, also BMW's, were average, like the 730 and 750; see (9)
and (11). Naturally a good car also has its price.

Please stay in contact with me. The telephone connection from

here is very difficult or nearly impossible. It also seems that
your telex is not operable. In any event, I shall attempt via
these various ways to send you what you need. Please write down

my telex number in your notebook: Germany 351685256545. With
reference to the 520 I forgot to tell you that I did not buy it.
It does not nave any papers.

I sent a letter with my address to the family. I hope that it
reached them.

Give my regards to all my relatives and friends.
Until the next letter
Your always faithful

Jozef .
(Signature: J/Jozet)*4
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 69 of 101

P.

Be careful about making internal contact with me”

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Interpreter's Notes:

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May also mean attending schools/does not have to be

university studies.

May also be 'me

May also mean that the
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The signature consists
in Arabic: J, combined

It may also mean: When

in the polite form.

car is outfitted with a lot of

of the first letter of the name Jozef
with the name in Latin script.

telephoning inside the country here.

 

It was possible to decipher
dated September 23, 1988 by
defendant's apartment.

In it

most of the contents of the letter
means of a code found in the

{the letter] the defendant indicated that he had found
three suitable Israeli targets for attacks. From the enclosed 13
photographs it appears that what are involved are the building of
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 70 of 101

the Israeli religious community, the office of the airline E1-Al,
and the office of the Israeli Trade Representation, each of them
in Munich. The Israeli religious community at Reichenpachstrasse
27 is indicated to be the most favorable target for an attack,
because {both} injuries to persons and property damage could be
achieved. With regard to the telex number given in the letter,
which was also encoded, what is involved is the line to the SHR-
Reiseéburo [SHR travel bureau] in Darmstadt.

At the beginning of October 1988 the defendant inquired in Beirut
via the telex connection of the SHR-Reiseburo in Darmstadt
whether a package had arrived there. He received the reply by
telex via the SHR-Reiseburo that this was not yet the case.
Thereupon he inquired at the DHL company in Kelsterbach on
October 6, 1988 why his shipment had not yet been delivered. It
was explained to him that a message would be put in the indicated
post office box. The package could then be picked up at the
branch office SNAS of the DHL compary in West Be*-1t. The
defendant passed this information on to Beirut again py telex via
the travel bureau. Subsequently a "Kahlend RAI" picked up the
package on October 11, 1988.

On May 31, 1989 the defendant again sent a telex via the SHR-
Reiseburo in Darmstadt to a "Mr. Tarek" in Beirut in English in
which he first stated that previous letters and telex messages
probably did not go through. He stated further that he wanted to
purchase up to 20 Mercedes cars of the type 230.4. He indicated,
however, that it was difficult to buy the larger models 450 and
480. He said that he would try to obtain these types during his
next vacation. If there were some marks or checks "59," he
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indicated that he would be willing to buy the cars. In August
1989 he would be flying to Lebanon.

The deciphering of this telex revealed that ''Mercedes" meant
installations of the United States of America, 20 of which he had
reconnoitered. Here more personnel damage could be caused
without hitting Germans. The Mercedes cars 450 and 480 meant
that it was difficult to scout out special buildings or
personages. The defendant stated that he was ready to carry out
an attack if he had dynamite and weapons at his disposal. The
defendant signed this telex with "Maher (11/3)."

Despite several attempts to send the telex, it was not received
in Beirut. The reason for this lay in the fact that the telex
number 23693 given by the defendant lacked the area code for
Beirut, Lebanon, and the SHR-Reiseburo did not ascertain the area
code — which was easily possible — even though lists were
generally available. In fact the telex line turned out to be
that of the addressee of the letter of September 23, 1988
(Dagher/*--sab, travel bureau in Betrut, Lebanon).

During the preliminary arrest of the defendant on June 22, 1989,
a letter in Arabic script to ‘'Dagher" dated May 17, 1989 was
seized with regard to which it is not known whether it had been
sent. In this letter too the defendant reports in coded form
concerning American targets like buildings, military
installations, bars, and restaurants. He refers again to
information already transmitted concerning Israeli installations.
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It was not possible to ascertain what the American targets were
that were mentioned both in the telex of May 31, 1989 and in the
letter of May 17, 1989.

The defendant acted with knowledge or all factual circumstances
and thus intentionally.

lil.

This statement of the facts is confirmed to the conviction of the
court on the basis of the allegations of the defendant, to the
extent they can be trusted, the testimony of the witnesses
Claudia Hartmann, Johanna Ehlers, Fritz Schwebel, and KHK
(Kriminalhauptkommissar = Chief Inspector] Reuther, as well as
the letter of defendant dated September 23, 1988 that was read
out (pages 750/751 of the file).

Viewed objectively, the defendant has essentially admitted the
activities charged to him, but claims to have acted under duress.
He indicates that while he has no sympathy for the Israeli
occupation force, he is neither a terrorist nor does he support
such activities. He says that he only wants to study in peace.

In detail he gave the following defense:

It is not true that he had maintained any contacts with persons
Or organizations in Lebanon that are hostile to Israel. One day
at the end of September and beginning of October 1988 he was
visited by a certain "Jozef" in his apartment in Darmstadt.
Jozef was said to have been an Arab and completely unknown to
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-~ 12 -

him up to that point. This person talked about himself in the
plural ("we"), but neither at this meeting nor at a second later
meeting did he reveal who else was standing behind him. Jozef
seemed to be informed where his [the defendant's] family lived
and indicated that it would mean death for his wife, his
relatives, and him himself if he did not do what he said. Jozef
was said to have had a package with him, the contents of which he
did not see. In particular he did not know that photographs were
in it.

Faced with this threat he said that he had written the letter of
September 23, 1988 at Jozef's demand and enclosed it in the
package. Further he said he received instructions to hand the
package over to the company DHL, and a draft was already dictated
to him for a telex with which he later would have to inquire
whether the package had arrived.

In addition, 'Jozef'' was said to have left certain documents with
him for safekeeping "so that they did not fall into the hands of
his enemies." These documents — various written items — he said
he had hidden in his apartment, among other places behind picture
frames, in accordance with the instructions without being aware
of their contents. Finally he said that "Jozef" had borrowed
from him an old Canon 35 mm camera. He said that in any case he
himself had not taken any of the pictures of the three buildings
in Munich designated in the charges. He indicated that he had
been in Munich previously, but not in the period that is relevant
here. What 1s correct is that he — as demanded by Jozef — sent
the inquiries to Beirut by telex concerning the arrival of the
package via the SHR-Reiseburo. In this connection he had also
spoken on the telephone and in person several times both with the
company DHL and with the SHR-Reiseburo. He said that Jozef
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had visited him for a second time in November 1988, in fact in
his new apartment, although he had not informed him about the
move. On this occasion the latter had brought back his camera.
The telex of May 31, 1989 and the letter of May 17, i989 he
indicated that he had written subseguently as dictated by Jozef.
He said he had not sent the last named item.

In response to questions on the subject the defendant refused to
describe "Jozef" in greater detail or to give other information
about him, since he feared for his life and that of his
relatives.

With regard to the activities demanded by "Jozef'' he had assumed
that they involved "illegal goings-on." In the letter it was
about cars. He said that he had not known that in reality it was
dealing in encrypted form with the preparation of bomb attacks,
to say nothing of wanting to declare himself ready for such
things.

He said he did not know the code. He himself was not mentioned
in the letters. The addressees of the messages (Kassab, Dagher,
Tarek) meant nothing to him.

Based on the evidence from the trial, namely the evaluation of
the activities admitted by the defendant on the one hand and his
defense on the other hand, the Criminal Chamber is convinced that
there was no "Jozef" and that the claim of the defendant that he
had acted simply as a largely ignorant tool under the pressure of
this unknown person is simply a self-serving declaration. It is
makes no logical sense at all that someone who was making another
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person consent to participate in attacks with death threats would
- if one believes the allegations of the defendant ~— keep the
victim largely in ignorance about the actual goals (bomb attacks)
and then leave the code behind with this "tool."

In this case the principal would leave behind an important
connecting link for possible indication of his guilt and
provision of evidence and thereby subject himself to incalculable
dangers.

Various behavior patterns of the defendant would also be
incomprehensible if one were to assume that he was acting on
behalf of a third party. For one thing, the allegation by the
defendant that he had been ready to act only under death threats
is in striking contradiction with his statement that he had
assumed some kind of illegal things, in any event auto
transactions, and with his extremely assiduous efforts
subsequently to obtain certainty concerning the actual arrival of
the pack="e in Beirut (witnesses Hartmann and Schreck’ The way
in which the code was stored also speaks clearly against the
defendant's role as a tool. One code was hidden together with
explosive instructions behind a picture frame, and another was in
a suitcase. The allegation by the defendant that "Jozef" had
given him a slip of paper at the door as he left and that he had
put it away and later forgotten it seems extremely unbelievable.
This very circumstance is an unambiguous indication against his
claim that he had not recognized the code. Also the retention of
some of the drafts of his letters (e. g. the telex of May 31,
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1989) testifies to authorship by the defendant and against having
it dictated by a third party. Similiar significance as evidence
is attributed to the circumstance that the names and telephone
numbers of Tarek and Dagner, the persons to whom the letters were
addressed, were found in a notebook of the defendant that
consisted of an extensive iist of addresses (witness Reuther).
The claim of the defendant that he had made this notation too on
instructions from "Jozef" 1s not credible. The notation in
personal documents in contrast to those allegedly stored
indicates unambiguously that he knew very well who the addressees
were,

When all is said and done the Criminal Chamber has not the least
doubt that the defendant acted independently and that "Jozef" and
Maher (11/3) are aliases that he used.

With regard to the defendant's motivation the Criminal Chamber
has assumed in favor of the defendant that he was not driven by
any financial reasons but by national and religious feelings and
convictions, possibly reinforced by the death of his brother,
which he blamed on the State of Israel, according to his defense.

After having assumed that the defendant knew the code and is the
author and sender of the letters, the Criminal Chamber must
interpret its content to mean that he is declaring himself ready
to carry out bomb attacks against three specific targets in
Munich (or alternatively one of them) himself, but at least to
collaborate in this as an accomplice.
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The thing is that on the basis of the defendant's motive and his
knowledge of the area there is no doubt that he intended to act
as a sole perpetrator or an accomplice and not as an accessory
for the planned bomb attacks and was also regarded by his contact
persons as at least an accomplice. The defendant wanted the deed
for which he indicated his readiness and that he offered to be
his own, regardless of which of the possible motives listed above
was finally decisive for him. He knew the exact lay of the land
at the site of the crime, in particular the location of the
targets of the attacks, while the persons to whom his offer was
addressed only had photos of the targets and thus would have had
to be led to the site of the crime by him at least, in the event
that it had not been planned at any rate for the defendant to
Carry out the attacks alone, which by itself would have led to
the guilt of the defendant, and thus to complicity.

The findings with regard to the content of the package with a
letter dated October 23, 1988, the places where the letter
drafts, explosive instructions, and codes were found in the
defendant's apartment, and his clothing are based on the
testimony of the witness KHK Reuther in agreement with the
Statements of the defendant. The latter witness expiained the
meaning of the defendant's letters using in particular the code
that was seized, according to which BMW cars mean Israeli or
Jewish targets for attacks and the word “buy" in this context
means "to carry out an attack."

It is true that this expression was not expressly contained in
the defendant's letter of October 23, 1988. The willingness to
Carry out attacks himself, however, is revealed clearly by the
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 78 of 101

defendant's coded telex of May 31, 1989, (witness Reuther). Even
if it cannot be proved that this telex was received in Beirut, it
may be used to interpret the letter of October 23, 1988. In the
final analysis it would be hard to explain what kind of sense the
letter of October 23, 1988 would make if the addressees had not
been able to turn to the defendant if they had wanted to take a
closer look at one of the three targets for attacks in Munich
proposed by the defendant.

It is true that the defendant did not have a concept worked out
for a specific target to attack after the state of readiness had
been achieved. Three sites in Munich, however, were put forward
as concrete proposals for which the kind of crime (bomb attack)
was recognizable. The statements of the defendant that expressed
his willingness were serious. The circumstance that he gave an
incomplete telex number (with the area code omitted) when
submitting the telex of May 31, 1989 does not lead to the
assumption that he did not want the ~e=ssage to r- cent. Since
there are general reference works in this regard, it may rather
be assumed that the defendant believed that the message would be
sent.

His repeated inguiries in this regard at the SHR-Reiseburo
(witness Hartmann) confirm his interest in the transmittal.

The fact that the defendant, when he sent letters to Beirut with
the content that has been ascertained using a code, was building
on contacts that had already been established or on contact
possibilities known to him to persons or organizations that were
engaged in carrying out terror attacks seems obvious from the
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facts of the case.

In the trial the counsel for the defense moved tnat the Director
of the Bavarian Landeskriminalamt [State Criminal Office],
Maillingerstrasse 15, 8000 Munich 19, be called as a witness in
Support of the notion that the court would be willing to levy a
fine without probation. The witness would testify that the BLKA
[Bavarian State Criminal Office] had come into possession of the
defendant's notebook or copies thereof before June 22, 1989 by
ignoring the basic right of the defendant to the inviolability of
his residence (Art. 13 GG [Constitution] ) and obtained the
notebook or copies thereof from his apartment secretly and
without his knowledge and further that only on the basis of
information obtained in this manner were proceedings instituted
against the defendant.

Tne mot‘-~- of the defense attorney could be rejected -- the
grounds for the judgment, because the alleged fact is without
significance for the decision on legal grounds (§ 244/III, II
StPO [Criminal Procedure Ordinance]. According to BGHSt
(Decisions of the Federal Supreme Court in Criminal Cases] 33,
283, 356; 32, 345 these do nat constitute any obstacle to the

proceedings.

With regard to the defendant's notebook that was seized by the
investigating authorities, however, there is no prohibition on
using it even if these authorities are alleged to have obtained
it in an “illegal manner." Such a prohibition on evidence and
evaluation is only justified to the extent tnat the content of
the notebook involves statements that could be considered an
emanation of the personality of the author on the basis of their
content.

This is the case for diaries of a highly personal nature, but not
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when — as here — the culprit makes address lists with notes
concerning his crimes (BGHSt 19, 325, 331). In addition, a

prohibition on use can only be recognized in the framework of a
balanced relation between the personal interest in the protection
of one's own private life guaranteed by the Constitution and the
interest of the State in criminal prosecution. The basic
principle of proportionality is firmly established in the
evaluation of prosecutorial procedures in the precedents of the
Bundesverfassungsgericht [Federal Constitutional Court] (see
citations in BGHSt 19, 325, 332).

In the specific case the interest of the defendant in the
protection of his own private life has to yield priority in view
of the seriousness of the planned crime (bomb attacks with the
possible endangerment of many people and substantial property
values).

IV.

Legal Assessment:

Tne defendant made himself guilty through his behavior in .
attempting to participate ina felony of causing an explosion in
accordance with §§ 30, Para 2, 311, Paras 1 and 2 StGB (Criminal
Code}.

He declared to others his readiness co bring about an explosion
using explosive materials and thereby to endanger the life and
limb of another person or property of substantial value belonging
to others. Through the fact that the defendant proposed three
targets for attacks in Munich and in the process emphasized the
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Israeli religious community as the most favorable target he
specified adequately the planned deed in his concept. In this
regard the manner of execution did not have to be established in
every detail, and it was enough that the culprit considered the
sites named alternatively for an attack (cf. Dreher-Trondle,
marginal note No. 7 to § 30 StGB).

With regard to the question whether the receipt of the
declaration to the addressees is necessary with regard to the
alternative elements of an offense of declaring oneself willing
in 30 StGB, the Chamber follows the prevailing opinion that
rejects this (cf. e. g. Schonke-Schroder, StGB, 23rd Edition, _
marginal note 23 to § 30; BGHGA [rrobably Goldtammer's Archiv fur
Strafrecht = Goldtammer's Archive for Criminal Law] 63, 126).

The clarification of this legal issue could be dropped, however,
Since in any case the package with the photographs of the targets
for attacks along with the letter signed "Jozef" of the defendant
— when the letter and package are considered together they reveal
unambiguously the offer to participate in blowing up one of the
targets for attacks that were photographed ~ were received by the
addressee. The fact is that "Kahlend RAI" picked up the package
on October 11, 1988.

Sentencing:

Since § 30 StGB with regard to the threat of punishment refers to
the sentencing range for tne offense under consideration, before

the actual sentencing it was necessary first to examine whether a
less serious case was involved with the consequence of a
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substantial shift of the sentencing range down or up in relation
to the normal case.

In assessing this question all points of view that might be
considered for evaluating the offense and the culprit were taken
into account, regardless of whether they are inherent in the
offense, accompany it, precede it, or follow it. In accordance
with the general impression gained in this manner through
weighing the incriminating and exculpatory circumstances, the
Criminal Chamber came to the conclusion that the case differs
from the average of the cases that usually occur in the
experience of the court just to the extent that the application
of the exceptional sentencing range provided for a less serious
case appears warranted.

For the Criminal Chamber the following considerations were
decisive:

In favor of the defendant were the tacts that he 1s still young
and at the time of the offense had just turned 21, that he has no
prior criminal record, he lives in orderly conditions, and
despite adverse living conditions was striving to achieve a lofty
educational goal.

In the trial he made what might be considered objectively to be a
partial confession.

Along with these personal circumstances it was of special weight
that the crime had not gone beyond the declaration of readiness
to the stage of concrete implementation. The action with regard
to the three targets alternatively considered had become concrete
Just to the extent of constituting an offense, but no further
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 83 of 101

preparatory actions were added to. It is not even certain whether
the possible principals who had been had been approacned regarded
such a deed as opportune from the standpoint of timing, location,
Or general strategy. On the other hand the dangerousness of the
forces operating in the Near East and an instruction originating
from there to someone willing to carry out a crime cannot be
ignored.

The considerable, general dangerousness of such behavior was the
only reason for imposing a more severe punishment.

The overall evaluation of all these circumstances, including the
Circumstance that only a preparatory act was involved (§ 30

StGB), resulted in a substantial predominance of the mitigating
factors. The sentencing range to be applied thus amounted to 6
months (or a fine) to 5 years imprisonment (§ 311/II StGB). A

further shift of the sentencing range under §§ 30, 49 StGB was
not poss**le, because the Criminal Chamber had assume? a less
serious case only incorporating the prerequisites of § 30 StGB
and without this circumstance would not have arrived at this
conclusion (§ 50 StGbh; BGH, judgment of February 8, 1989 - 2 StR
299/88).

In the sentencing in the narrower sense of the term the Criminal
Chamber again took into account the same sentencing
considerations that were already the subject of the examination
of the question whether a less severe case was involved. A
sentence of

2 years imprisonment

seemed absolutely necessary to punish the behavior of the
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defendant, which was no trifling matter. On the other hand, it
also seems sufficient to do justice to the personal circumstances
of the defendant. In view of the kind of defense by the
defendant, it could not be ascertained whether he has freed
himself internally from his motives for action. In any event a
contrary position cannot be imputed to him, especially since he
displayed a certain amount of cooperation with his partial
confession in the trial and distanced himself from terrorist
ambitions according to his defense.

The punishment could not be reduced to probation. Despite other
favorable personal prerequisites, there exist doubts with regard
to the kind of crime whether the defendant has freed himself from
his motives for action and thus about a favorable social
prognosis (§ 56/I StGB).

In any event the special circumstances in the offense that could
justify the s*spension of the two-ysar imprisonment as an
exception are lacking (56/II StGB). The law-abiding population
would also fail to understand if deeds of such general danger for
public safety were to have only a sentence of probation imposed.

Public interest therefore calls for the execution of the
punishment in this case to protect the public effectively against
Such terrorist activities that are being brought in over the
borders ((§ S6/III StGB).

VI.

The time spent in police custody and pre-trial detention in this
. Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 85 of 101

case is to be counted toward the sentence imposed in accordance

with the law (§ 51/I StGB).

VIl.

Costs: §§ 464, 464a, 465/I StPo.

[Signature] [Signature]
Dr. Hollenrieder Hopfensperger
Presiding Judge Judge

at the Landgericht at the Landgevicht

(stamp: Files with {illegible words}
on January 23, 1990]
[Signature]

Kleiner

Judge

at the Landgericht
(handwritten: left the
Chamber on December 12,
1989

{signed} Hollenrieder]
-Gase 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 86 of 101

BgP-S PROGRESS REPORT cores
FEB 94

U.S. DEPARTMENT OF JUSTICE FEDERAL. BUREAU OF PRISONS

aR,

Institution Date
USP ALLENWOOD, PA August 17,

 

1999

 

 

Inmate Reviewed

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Inmate'’s,Signature Date Staff Si
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1. Type of Progress Report

 

 

 

Initial Statutory Interim XX Pre-Release
Transfer Triennial Other (Specify)

2. Name 3. Register Number 4. Age (DOB)
MAKKI, Bassam Gharib 58753-004

32 (07-25-1967)

 

 

5. Present Security/Custody Level
Medium/In

6. Offense/Violator Offense
Misuse of Passport (2 counts) and Possession of False Documents
Prescribed by Statute and Regulation for Entry into an Evidence of
Authorized Stay and Employment in the United States.

 

 

 

7. Sentence

 

 

 

 

16 months
8. Sentence Began 9. Months Served + 10. Days GCT/or EGT/SGT
Jail Credit
04-22-1999 4 Months +216 day Jcr 0 Days GCT
ll. Days FSGT/WSGT/DGCT 12. Projected Release 137 fast USpc Action
0 Days DGCT 11-17-1999 Via GCT © N/A

 

 

14. Detainers/Pending Charge
U.S. Immigration and Naturalization Service

   

= GOVERNMENT
EXHIBIT

Fo

 
     

15. Co-Defendants

PENGAD-Bayonne,

None

 

 

For Continuation Pages, type on a blank sheet with the tnmate's Name
Register No., and Date and attach to this form. ’

Record Copy - Inmate File; copy - U.S. Probation Office; copy -

Parole Commission Regional Office (If applicable)
Inmate

¢ Copy °

(This form may be ceplicated via WP) Replaces all Bp-ciass-3 and AP-187(58) of NOV 90

 

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! ‘ cm

PROGRESS REPORT
MAKKI, Bassam Gharib
REG. NO.: 5S8753-004
Page 2

INSTITUTIONAL ADJUSTMENT

PROGRAM PLAN: Inmate Makki was received at USP Allenwood, Pa,

commitment for service of his sentence on June 15, 1999. MDuring his
initial classification, he was recommended to complete payment on his
financial obligation, enroll in a Release Preparation Program, and complete
all courses, complete the counselor group, Free By Choice, save sufficient
funds for release, and maintain clear conduct.

as a new

WORK ASSIGNMENTS: During inmate Makki’s brief stay at USP Allenwood, he has

been assigned to job assignments in Chief Mechanical Services, and he his
currently assigned to the Electrical Shop. Inmate Makki has consistently

received satisfactory evaluations from his supervisors comcerning his work
habits.

EDUCATIONAL/VOCATIONAL PARTICIPATION: Inmate Makki has not participated in
any type of educational or vocational programs offered at this institution.

COUNSELING PROGRAMS: With the exception to participate in correctional
counseling, no other type of counseling programs are: noted.

INCIDENT REPORTS: During inmate Makki's incarceration with the Federal
Bureau of Prisons, he has maintained a disciplinary free record.

INSTITUTIONAL MOVEMENT: Inmate Makki's was originally designated to usp
Allenwood, PA, on June 15, 1999, to begin service of his federal sentence.

PHYSICAL AND MENTAL HEALTH: Due to inmate Makki's short stay at usp

Allenwood, he has not been fully medically cleared at this time. However
he has been cleared for placement in Food Service. He appears to be in
good physical health and not suffering from any type of Psychological
problems. He is considered to be fully employable upon release.

PROGRESS ON FINANCIAL RESPONSIBILITY PLAN: Inmate Makki was sentenced to a

$300 felony assessment. He is due to make quarterly payments on this
obligation beginning in September. The balance of this obligation will be
paid during his time on supervised release.

RELEASE PLANNING: Upon release from the Federal Bureau of Prisons, inmate

Makki has no reside in the United States. He is a citizen from Beirut,
Lebanon and has a residence in that country with his wife, Zeinab Makki.

It should be noted that inmate Makki has an active detainer from the United
States Immigration Service concerning his possible deportation.

 

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=—"Case 1:99-cr-00870-JLK Document5 Entered on FLSD Docket 12/01/1999 Page 88 of 101

 

o—~\ ro
PROGRESS REPORT -
MAKKI, Bassam Gharib
REG. NO.: 58753-004
Page 3
a. Residence: To be secured
b. Employment: To be secured
c. USPO: Richard A. Houck, Jr., Chief

District of Columbia

U.S. District Courthouse

Room 2800

3°77 © Constitution Avenue, N.W.
Washington, D.C. 20001-2866

Inmate Makki is subject to notification under Public Law 103-322 the
Violent Crime Control Act and Law Enforcement Act of 1994 based upon his
prior convictions for crimes of violence.

d. Release Preparation Program: Inmate Makki has requested to participate
in the Release Preparation Program at this institution. To this date, he
has not completed any of these courses offered in this program. He also
has been advised start saving money for his release.

By:

 

ham, Case Manager Unit IIB

    
  

   

reviewed By:

Troutman, ~it Manager

Date Typed: August 17, 1999

 

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Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 89 of 101

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In el sd REQUEST FOR url ad EXPERT OR OTHER COURT SERVICES Soy PAYMENT OF FEE

 

 

 

 

 

 

 

 

 

 

 

IN UNITED STATES  maaistratE (J DISTRICT [J APPEALS COURT or (OTHER PANEL (Specity below)
iN THE CASE OF ‘ son “ LOCATION NUMBER
L VS —_
AT
l J
(  DOCKETNUMBERS
PERSON REPRESENTED (Show your full name) 10) Defendant - Adult agistrate
2 0) Defendant - Juvenile $q “Mw -O TT -o;
3D Appellant District Court
40 Probation Violator |
5 Parole Violator Court of Appeals
CHARGE/OFFENSE (describe if applicable & check box >) Felony
0 Misdemeanor 6 (1 Habeas Petitioner
701 2255 Petitioner
{ 81) Material Witness

9 Other (Specify)

 

 

Are you now employed? (1 Yes o U Am Self Employed
y

Name and address of employer:

 

 

IF YES, how much do you IF NO, give month and year of last employment / nd”
EMPLOY- earn per month? $ How much did you earn per month? $ 000
MENT \f married is your Spouse employed? C1 Yes [No vo
IF YES, how much does your lf a minor under age 21, what is your Parents or
Spouse earn per month? $___———SS—s Guardian's approximate monthly income? $

 

form of rent payments, interest, dividends, retirement or annuity payments, or other sources? [] Yes lo
OTHER RECEIVED SOURCES
INCOME |/F YES, GIVETHE AMOUNT, ;

Have you received within the past 12 months any income from a business, profession or other form of oon orinthe

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ASSETS RECEIVED & IDENTIFY $ , ;
THE SOURCES \ _
Tot momo
CASH Have you any cash on hand or money in savings or checking accounyeX] Yes CINo IF YES, state total amount Mm pncm A
Do you own any real estate, stocks, bongs, notes, automobiles, or other valuable property (excluding ordinary household
furnishings and clothing)? (J Yes No
VALUE DESCRIPTION
PROP-
ERTY IF YES, GIVE THE VALUE AND $ , =
DESCRIBE IT . 1
L _)
L _I
MARITAL STATUS Total List persons you actually support and your relationship to them
No. of
l SINGLE Dependents
DEPENDENTS { | MARRIED
WIDOWED l J
SEPARATED OR
OBLIGATIONS { DIVORCED
& DEBTS DEBTS & ( On OMENT Creditors Total Debt Monthly Payt.
MONTHLY OR HOME:
BILLS $ $
(LIST ALLCREDITORS, 4 $ $
INCLUDING BANKS.
LOAN COMPANIES, $ $
CHARGE ACCOUNTS, $ $
ETC) L

 

 

 

| certify under penalty of perjury that the foregoing is true and correct. Executed on (date)

 

SIGNATURE OF DEFENDANT
(OR PERSON REPRESENTED)

 
 

AO 44aGR@v1 1995 CWHARFO-didet ADSCRUTNER 5 Efiteredol FR. SRPocket 12/01/1999 Page 90 of 101

United States District Court

 

 

SOUTHERN DISTRICT OF FLORIDA
UNITED STATES OF AMERICA °
Vv. WARRANT FOR, ARREST
BASSAM GHARIB MAKKI . ‘

a/k/a Hassan Mohamad Makki CASE NUMBER: 99-3664-STB

a)
TO: The United States Marshal :
and any Authorized United States Officer

\

3
YOU ARE HEREBY COMMANDED to arrest_ BASSAM GHARIB MAKKI a/k/a Hassan Mohamad Makki
Name

and bring him forthwith to the nearest magistrate to answer a

{ ]Indictment [ ]Information KxX]Complaint [| ]Order of court [| ]Violation Notice [ ]Probation Violation Petition

charging him with (brief description of offense)
MAKING A FALSE STATEMENT UNDER OATH BEFORE A UNITED STATES MAGISTRATE JUDGE

ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE, SECTION 1621.

STEPHEN T. BROWN

United States Magistrate Judge
Title of Issuing Officer

Miami, Florida 4 Lo FF.

Date and ee STEPHEN T BROWN /
UNITED STATES MAGISTRATE JUDGE

Name of Judicial Officer

 
 
 
 

4 by

 

 

RETURN

 

This warrant was received and executed with the arrest of the above named defendant at

W/PA Williamsburg

 

 

 

DATE RECEIVED | NAME AND TITLE OF ARRESTING OFFICER SIGNAT F ARRESPING OFFICER hoe
11/12/99 | JAMES A. TASSONE Lb we lef SHAS FOR}

DATE OF ARREST OE ARREST US MARSHAL S/FL BY: JOHN R. HACKAMAN, SDUSM

| 11/17/99 | ; J

 

 

AO 442 (Rev. 12/85) Warrant for Arrest

 
   

  

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CLARENCE oe
CLERK U5. weet

 
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 91 of 101

BOND RECOMMENDATION

DEFENDANT_BASSAM GHARIB MAKKI a/k/a Hassan Mohamad Makki

$ PTD (NO BOND) (Personal Surety, Recognizance, Corp. Surety, Cash) (Jail) (On
Bond) (Warrant) (Summons) (Marshal's Custody)

DAVID M. BUCKNER
ASSISTANT UNITED STATES ATTORNEY

Last Known Address:

 

What Facility: ALLENWOOD MAXIMUM SECURITY PRISON

Special Agent: JAMES COMBS, U.S. DIPLOMATIC SECURITY SERVICE
Case 1:99-cr-00870-JiKF EDUCOWENG Ts FURIISHED FORINEGHMKGIONOMLNGI9 Page 92 of 101

DEFENDANT'S NAME: _ BASSAM GHARIB MAKK|

 

ALIAS: Hassan Mohamad Makki

LAST KNOWN RESIDENCE: ALLENWOOD MAXIMUM

LAST KNOWN EMPLOYMENT:

 

PLACE OF BIRTH: Lebanon

DATE OF BIRTH:

 

SOCIAL SECURITY NUMBER:

 

 

 

 

 

HEIGHT: WEIGHT:
SEX: Male RACE:
HAIR: EYES:

 

 

SCARS, TATTOOS, OTHER DISTINGUISHING MARKS:

 

 

 

FBI NUMBER:

 

COMPLETE DESCRIPTION OF AUTO:

 

 

INVESTIGATIVE AGENCY AND ADDRESS: U.S. DEPT. OF STATE DIPLOMATIC SECURITY SERVICE

FEDERAL BLDG., ROOM 404 51 S.W. AVENUE, MIAML FLORIDA 33130

 
" Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 93 of 101

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

Case No. g¢ ~ BOY ° lk -

UNITED STATES OF AMERICA
v
BASSAM GHARIB MAKK!

a/k/a Hassan Mohamad Makki
|

CRIMINAL COMPLAINT COVER SHEET

1. Did this case originate from a matter pending in the United States Attorney's Office
prior to April 1, 1999? X_ Yes No
2. Did this case originate from a matter pending in the Central Region of the United

States Attorney's Office prior to April 1, 1999? Yes X___ No

Respectfully submitted,

THOMAS E. SCOTT
UNITED STATES ATTORNEY

BY: ®o®  OBL

DAVID BUCKNER

ASSISTANT UNITED STATES ATTORNEY
Florida Bar Number 60550

99N.E. 4th Street

Miami, Florida 33132-2111

TEL (305) 961-9006

FAX (305) 530-7976

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AO 442, Revd BOS WA QTE: Atrost PEBSCRHERERES Entered on FLSD Docket 12/01/1999 Page 94 of 101

Onited States District Court
SOUTHERN DISTRICT OF FLORIDA

 

UNITED STATES OF AMERICA

Vv. WARRANT FOR ARREST
BASSAM GHARIB MAKKI
a/k/a Hassan Mohamad Makki CASE NUMBER: 99-3664-STB

TO: The United States Marshal
and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest. BASSAM GHARIB MAKKI a/k/a Hassan Mohamad Makki

Name
and bring him forthwith to the nearest magistrate to answer a

[ ]tndictment [~ ]information KXx]Complaint [| ]Order of court [_ ] Violation Notice [_ ]|Probation Violation Petition

charging him with (brief description of offense]

ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE, SECTION 1621.

 

STEPHEN T. BROWN

Name of Issuing Officer

United States Magistrate Judge
Title of Issuing Officer

Miami, vent “pol P4

Signature of po Of Ost an Loc BEN T. BROWN
a Tp UNITED STATES MAGISTRATE JUDGE
ail fixed at jJ—— by

Name of Judicial Officer

   
 
 

 

 

 

RETURN

 

This warrant was received and executed with the arrest of the above named defendant at

 

 

 

 

 

 

DATE RECEIVED { NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER
DATE OF ARREST
I

 

AQ 442 (Rev. 12/85) Warrant tor Arrest
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 95 of 101

BOND RECOMMENDATION

DEFENDANT_BASSAM GHARIB MAKKI a/k/a Hassan Mohamad Makki

$ PTD (NO BOND) (Personal Surety, Recognizance, Corp. Surety, Cash) (Jail) (On
Bond) (Warrant) (Summons) (Marshal's Custody)

 

DAVID M. BUCKNER
ASSISTANT UNITED STATES ATTORNEY

Last Known Address:

 

What Facility: ALLENWOOD MAXIMUM SECURITY PRISON

Special Agent: JAMES COMBS, U.S. DIPLOMATIC SECURITY SERVICE
Case 1:99-cr-00870-Hlfe FAPEU WING & PURMISEED FER MRGAMAPIONGNH 999 Page 96 of 101
DEFENDANT'S NAME: _ BASSAM GHARIB MAKK
ALIAS: __ Hassan Mohamad Makki
LAST KNOWN RESIDENCE: __ALLENWOOD MAXIMUM

LAST KNOWN EMPLOYMENT:

 

PLACE OF BIRTH: Lebanon

DATE OF BIRTH:

 

SOCIAL SECURITY NUMBER:

 

 

 

 

 

HEIGHT: WEIGHT:
SEX: Male RACE:
HAIR: EYES:

 

 

SCARS, TATTOOS, OTHER DISTINGUISHING MARKS:

 

 

 

FB] NUMBER:

 

COMPLETE DESCRIPTION OF AUTO:

 

 

INVESTIGATIVE AGENCY AND ADDRESS: U.S. DEPT. OF STATE DIPLOMATIC SECURITY SERVICE

FEDERAL BLDG., ROOM 404 51 S.W. AVENUE, MIAMI, FLORIDA 33130

 
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 97 of 101

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

Case No. qq - Loe} ° of K

UNITED STATES OF AMERICA
v

BASSAM GHARIB MAKKI
a/k/a Hassan Mohamad Makki

i

 

FILED by ___0.C-
MAG. SEG.

NOV - 4 1399

CLERK US. DIST. CT.
s.D. OF FLA. ° MIAMI

 

 

 

CRIMINAL COMPLAINT COVER SHEET

1. Did this case originate from a matter pending in the United States Attorney’s Office
prior to April 1, 1999? xX Yes No
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N:\udd\pglennicircular\complaint cover .wpd

BY:

Respectfully submitted,

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UNITED STATES ATTORNEY

DAVID BUCKNER

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Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 98 of 101

AO 91 (Rev. 5/85) Criminal Complaint AUS.. 3UCKNER

 

United States District Court

SOUTHERN DISTRICT OF FLORIDA
UNITED STATES OF AMERICA

Vv.

    
 

CRIMINAL COMPLAINT
BASSAM GHARIB MAKKI .
G9 -3lele f- STB

a/k/a Hassan Mohamad Ma
NUMBER:

|, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about September 21, 1998, at Miami-Dade County, in the Southern District of
Florida, the above defendant, having taken an oath before a competent tribunal, officer and person, that he would
testify, declare, depose and certify truthfully, did willfully and contrary to such oath state and subscribe a material
matter which he did not believe to be true, in that the defendant stated while under oath before a United States
Magistrate Judge, that his name was Hassan Mohamad Makki, when in truth and in fact, and as the defendant
then and there well knew, his true name was and is Bassam Gharib Makki; in violation of Title 18, United States
Code, Section 1621.

} further state that lama Special Agent and that this complaint is based on the following
Official Titie

facts:

See Attached Affidavit

Continued on the attached and made a part hereof: [x ] Yes [_]No

Signatur of Complainant JAMES D. COMBS
DIPL@MATIC SECURITY SERVICE - STATE DEPT.

Sworn to before me and subscribed in my presence,

il dl PY at _MIAMI-DADE COUNTY, FLORIDA
ppt

Date

City and State

~ STEPHEN T. BROWN
UNITED STATES MAGISTRATE JUDGE

UNITED STATES MAGISTRATE JUDGE
Name & Title of Judicial Officer

 

 
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 99 of 101

AFFIDAVIT

JAMES D. COMBS, being first duly sworn on oath, deposes and states as follows:

1. lam a Special Agent with the United States Diplomatic Security Service (DSS),
and have been so employed for nine years. Since August, 1997, I have been assigned to the
international terrorism squad, JOINT TERRORISM TASK FORCE, of the Miami, Florida,
Division of the FBI.

2. Prior to employment with the DSS, I was employed as the Assistant Regional
Security Officer assigned to the U.S. Embassy in Ottawa, Canada.

3. This affidavit is submitted in support of my application for a criminal complaint
charging BASSAM GHARIB MAKKI], with perjury and false statements.

4. All of the information contained in this affidavit is the result of either my own
personal observations, investigation, and experience, or has been provided to me by other law
enforcement authorities.

5. On or about September 15, 1998, the Brazilian Consul General in Asuncion,
Paraguay, informed the U.S. Embassy in Asuncion that a person identifying himself as
Mohammad Gharib Makki and bearing U.S. passport number Z7189091, had appeared at the
Brazilian Consulate in Asuncion to apply for a Brazilian tourist visa. The Consul General related
that there were several aspects about the suspect that aroused suspicion. For example, the
applicant had departed Lebanon on September 14, 1998, and applied for his Brazilian visa almost
as soon as he arrived in Paraguay, which the Consul General believed was unusual and suspicious.
In addition, the suspect’s U.S. passport was a replacement to a lost or stolen passport. Further,
the suspect seemed anxious to obtain his visa immediately.

6. Mohammad Gharib Makki was then and remains a fugitive wanted for wire fraud,
mail fraud and failure to appear in the Eastern District of New York.

7. On September 18, 1998, the suspect was arrested by the Paraguayan National
Police in Ciudad del Este, Paraguay, based upon the belief that he was the fugitive Mohamad
Gharib Makki. Immediately after his arrest, he was flown to the Silvio Pettirossi International
Airport in Asuncion, Paraguay, and taken to the airport immigration office. Immediately after he
arrived, Special Agent Robert Wayne Starnes, United States Diplomatic Security Service

conducted an interview of the suspect. SA Starnes conducted the interview in English and the
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suspect appeared to understand the questions. The suspect also responded to the questions in
English.

8. Prior to the interview, SA Starnes advised the suspect of his Miranda rights. The
suspect signed a form in the name of Mohammad G. Makki and, during the subsequent interview,
stated that his name was, indeed, Mohammad G. Makki. Later, Detective Wayne T. Parola, New
York City Police Department detailed to the New York Joint Terrorism Task Force and deputized
as a Special Deputy United States Marshall, and Special Agent John G. Sorge, FBI, also
interviewed the suspect at the airport and he again stated that his name was Mohammad G.
Makki. When Det. Parola stated that he knew Mohammad G. Makki and that the suspect was
obviously not the same person, the suspect admitted to Det. Parola and SA Sorge that his name
was not Mohammad G. Makki and stated that his name was really Hassan Mohamad Makki. A
fingerprint comparison of the suspect’s fingerprints to known fingerprints of Mohammad G.
Makki confirmed that the suspect was not Mohammad G. Makki.

9, During a second interview by SA Starnes and SA Hector Rodriguez, FBI on
09/19/1998, the suspect again gave his name as Hassan Mohamad Makki. Suspect subsequently
traveled to Miami, Florida where he was arrested on passport fraud.

10. _— At his initial appearance on 9/21/1998 in the United States District Court for the
Southern District of Florida, Miami Division before the Honorable Robert L. Dube, United States
Magistrate Judge, the subject was sworn and the Court asked him for his full name. The subject
stated that his name was Hassan Mohamad Makki.

10. During the assimilation of the pretrial services report, the subject reiterated that his
name was Hassan Mohammad Makki.

11. At his removal hearing on 09/29/1998 before the Honorable Peter R. Palermo,
United States Magistrate Judge, the Court, this time with the aid of an Arabic interpreter, again
asked the suspect his true name in open court. The suspect, who had by now had the benefit of
consulting with a Federal Public Defender, again stated that his name was Hassan Mohamad
Makki.

12. On 10/6/1998 SA Michael J. Hudspeth, Diplomatic Security Service, interviewed a
confidential informant who positively identified a photograph of the suspect as neither

Mohammad Gharib Makki nor Hassan Mohammad Makki but as Bassam Gharib Makki. The
Case 1:99-cr-00870-JLK Document 5 Entered on FLSD Docket 12/01/1999 Page 101 of 101

informant added that Bassam Gharib Makki had a criminal record in Germany.

13. By letter dated December 4, 1998 the Bavarian Ministry of Justice in Germany
informed the Embassy of the United States that one Bassam Gharib Makki had indeed been
convicted in the 1st Criminal Chamber of the Munich Landgericht I on December 22, 1989 of
attempting to participate in a felony involving explosives. German authorities confirmed that the
same Bassam Gharib Makki was arrested in Germany in 1985 on an immigration charge. A
fingerprint comparison between known fingerprints of Bassam Gharib Makki from Germany taken
in 1985 and those of the subject confirmed that the subject’s true name is Bassam Gharib Makki.

14, Based upon the above, your affiant has probable cause to believe that Bassam Gharib
Makki committed perjury at his initial appearance before Magistrate Judge Dube by making a
false statement under oath with regard to his identity in violation of Title 18 U.S.C. §1621.

AFFIANT FURTHER SAYETH NAUGHT.

CL nC be

SPECVAL AGENT JAMES D. COMBS
SPECIAL AGE SECURITY SERVICE

Sworn to and subscribed
before me this $tay
of November, 1999

   

 

UNITED STAT, AGISTRATE JUDGE

   
